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                   EXHIBIT
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13

14                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

15                                  COUNTY OF SAN MATEO

16

17   THE BRANDR GROUP, LLC                        )    Case No.      23-CIV-02715
                                                  )
18                  Plaintiff,                    )    VERIFIED COMPLAINT for:
19                                                )
     vs.                                                  1. Tortious Interference with Contract
                                                  )
20                                                )       2. Violation of California Civil Code §
     ELECTRONIC ARTS, INC., and DOES 1            )
21   through 10, inclusive,                                   3344
                                                  )
                                                  )       3. Violation of Right of
22                  Defendants.
                                                  )
                                                              Publicity/Misappropriation of
23                                                )
                                                  )           Likeness
24                                                )
                                                          4. Violation of California Business and
                                                  )
25                                                )           Professions Code § 17200, et seq.;
26                                                            and

27                                                        5. Declaratory Relief

28

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 1           Plaintiff The BrandR Group, LLC (TBG), by and through its attorneys Katten Muchin

 2   Rosenman LLP, for its complaint in this action against Defendant Electronic Arts, Inc. (EA

 3   Sports or EA), alleges as follows:

 4                                        NATURE OF THE CASE

 5           1.      This dispute involves the rights of collegiate student-athletes to receive fair

 6   compensation for the commercial use of their name, image, and likeness (NIL) and the

 7   protection of the contractual rights of those engaged to advocate for those rights.

 8           2.      For more than 100 years, National Collegiate Athletic Association (NCAA) rules

 9   limited the financial benefits student-athletes could accept for the use of their NIL. That rule

10   changed in the wake of the seminal Ninth Circuit rulings in In re NCAA Student-Athlete Name &

11   Likeness Licensing Litig., 724 F.3d 1268, 1272 (9th Cir. 2013) and O'Bannon v. NCAA, 802 F.3d

12   1049 (9th Cir. 2015), and the Supreme Courts decision in NCAA v. Alston, 141 S. Ct. 2141 (2021),

13   which ultimately divested the NCAA of its long-standing justification for prohibiting collegiate

14   athletes from commercializing their NIL and prompted the NCAA to suspend its previous

15   restrictions and allow student-athletes to profit from the use of their NIL.

16           3.      With the removal of previous barriers to paying student-athletes for their NIL has

17   come a frenzy of marketing and advertising opportunities for young student-athletes arising from

18   their participation in collegiate sports.

19           4.      This has proven especially true for those student-athletes participating in collegiate

20   football and basketball programs. Indeed, it is hard to overstate the popularity of these collegiate

21   sports in the United States, which contributes to the vast array of opportunities that are now

22   available to collegiate football and basketball players with the use of their NIL.

23           5.      One such opportunity is the return of the EA Sports College Football video game

24   (EA College Football or the Game). Originally released in the 1990s, in 2013-2014, EA

25   announced that it was discontinuing its popular football video game amid an onslaught of NIL

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 1   litigation in 2013-2014. The discontinuance of the Game was significant given that it reportedly

 2   generated anywhere between $80 million to $125 million per year in sales revenue.1

 3           6.       EA now plans to bring back its popular Game, but this time, EA intends to use

 4   student-athletes NIL and schools intellectual property (IP) to create a more realistic college

 5   football experience for users  one that includes realistic-looking avatars of the players and the

 6   actual branding, logos, and even fight songs from the players schools. The Game presents an

 7   exciting opportunity for young college football players to participate in what has historically been

 8   a tremendously popular and successful video game; more importantly, it presents an opportunity

 9   for these young athletes to be fairly compensated for helping to make that Game so successful.

10           7.       Unfortunately, EA Sports is trying to avoid paying collegiate football players a fair

11   price for their participation in the Game, continuing the pre-OBannon pattern of large

12   corporations taking advantage of young student-athletes and capitalizing on their NIL. EA Sports

13   is reportedly offering student-athletes a flat fee of just $500 per athlete to participate in a Game

14   which is expected to yield EA Sports significant revenue in year over year sales. As the contractual

15   representative for student-athletes in Group Rights Programs co-branded with schools IP, this is

16   what TBG is trying to prevent.

17           8.       TBG is a brand management, marketing, and licensing business that holds exclusive

18   Group Rights Licensing Agreements with dozens of FCS and FBS colleges and universities and

19   thousands of football players for these schools. Generally, under these agreements, TBG has been

20   engaged to act as the exclusive agent for student-athletes to secure third-party sponsorships and

21   licensing opportunities for Group Licensing Programs  defined as licensing or sponsorship

22   programs in which a collegiate licensee or collegiate sponsor uses the Athlete Attributes (as

23
     1
24     Kristi Dosh, How much did Schools Make from EA Sportss NCAA Football Previously?,
     https://businessofcollegesports.com/name-image-likeness/how-much-did-schools-make-from-ea-sportss-ncaa-
25   football-
     previously/#:~:text=Industry%20analysts%20back%20then%20told,Sports'%20total%20revenue%20per%20year .
26   (May 17, 2023) (reporting that EA Sports College Football generated $125 million in annual sales revenue); but see
     Steve Berkowitz, How EA Sportss NCAA Football video game could make a comeback,
27   https://www.usatoday.com/story/sports/2019/05/20/how-ea-sportss-ncaa-football-video-game-could-make-
     comeback/3704876002/ (May 20, 2019) (reporting that EA executive previously testified that EA Sports College
28   Football generated $80 million in sales revenue on the sale of roughly 2 million units).
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 1   defined below) of three (3) or more current athletes from one sport or six (6) or more from multiple

 2   sports in combination with school trademarks, logos, and other IP.

 3           9.       Unlike the student-athletes it represents, TBG is well-positioned to negotiate with

 4   corporate sponsors and licensees  such as EA Sports  in order to ensure that its clients receive

 5   fair market value for the use of their respective NIL. TBG is powered by a team of individuals

 6   with decades of collective management experience for some of the worlds largest brands. TBG

 7   and its principals have substantial experience in the group licensing business and have developed

 8   significant goodwill among its clients and customers.

 9           10.      Since the announcement that EA was developing a new version of the Game, TBG

10   has paid careful attention to media and industry reports relating to EAs use of players NIL and

11   schools IP. Representatives of TBG promptly notified EA of its exclusive Group Licensing

12   agreements and informed EA that any attempt to secure TBGs collaborating schools and client

13   student athletes participation in the Game without the consent or involvement of TBG would be

14   a violation of those agreements.

15           11.      Although TBG expressly informed EA of its exclusive contractual rights at

16   collaborating schools that are implicated by the TBG-represented student-athletes included in the

17   Game, EA is pressuring and coercing or attempting to coerce TBGs exclusive collaborating

18   universities to opt-in to the Game, agreeing to a structure that will reportedly pay the student-

19   athletes a flat fee that is far below market value and does not include any payments for future

20   royalties.

21           12.      Given the ever-changing landscape of collegiate NIL rights, there is no bright-line

22   rule for what a third-party must pay for the use of a student-athletes NIL in certain contexts. The

23   issue of collegiate NIL rights has dominated sports headlines and been a hotly litigated subject for

24   several years.     Fortunately, while the legislation surrounding student-athlete NIL rights is

25   relatively new and still evolving, the law of contracts is not.

26           13.      This is a textbook case of tortious interference by EA of TBGs contractual rights

27   with thousands of student-athletes and at schools where TBG has exclusive Collaboration

28   Agreements. TBG files this Complaint to prevent EA Sports from intentionally interfering with
                                                     3
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 1   its contractual rights, violating its right to publicity, and causing irreparable harm to TBG and the

 2   student-athletes it represents at collaborating schools.

 3                              PARTIES, JURISDICTION AND VENUE

 4           14.    Plaintiff TBG is a limited liability company organized under the laws of the state

 5   of North Carolina with a principal place of business at 100 Corridor Road, Suite 200, Ponte Vedra

 6   Beach, FL 32082.

 7           15.    Upon information and belief, Defendant EA Sports is corporation organized under

 8   the laws of the state of Delaware with its principal office located at 209 Redwood Shores Parkway,

 9   Redwood City, California 94065.

10           16.    TBG is informed and believes, and on that basis alleges, that Defendants DOES 1
11
     through 10, inclusive, are individually and/or jointly liable to TBG for the wrongs alleged herein.
12
     The true names and capacities, whether individual, corporate, associate or otherwise, of
13
     Defendants DOES 1 through 10, inclusive, are unknown to TBG at this time. Accordingly, TBG
14

15   sues Defendants DOES 1 through 10, inclusive, by fictitious names and will amend this Complaint

16   to allege their true names and capacities after they are ascertained.

17
             17.    The Court has subject matter jurisdiction over this action, and venue is proper in
18
     San Mateo County, because Defendant EA Sports maintains its principal place of business in
19
     Redwood City, California.
20
             18.    The Court has general personal jurisdiction over Defendant EA Sports because it
21
     maintains its principal place of business in Redwood City, California and the exercise of
22
     jurisdiction over Defendant EA Sports is consistent with the Constitutions of California and the
23
     United States of America.
24

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 1                                     FACTUAL BACKGROUND

 2                                        TBG and NIL Licensing

 3           19.     TBG is a leader in the collegiate group licensing space, using its industry

 4   experience and relationships to facilitate co-branding opportunities for student-athletes and their

 5   schools.

 6           20.     Co-branding is the combining of the name, image, likeness, and other intellectual

 7   property rights owned by a particular athlete, aggregated with the branding rights from another

 8   entity, such as the school for which that athlete competes.

 9           21.     For example, when a fan wants to purchase the jersey of their favorite college

10   quarterback (QB1), the fan is purchasing an item that needs to be licensed from at least two

11   sources: (1) QB1, for the use of his NIL; and (2) QB1s university, for the use of its logo and

12   related IP. TBG steps into this deal by grouping the rights and marketing them together to

13   companiessuch as jersey manufacturersin order to create an efficient and effective way to

14   create co-branded products, services, events and the like.

15           22.     It is in this industry (among others) that TBG has invested significant time, energy

16   and money, building a sterling reputation and substantial goodwill, and in the process creating a

17   brand for itself.

18           23.     Beginning as early as 2017, TBG believed that college athletics was likely to

19   undergo significant change with respect to NIL programs across the country to allow college

20   athletes to benefit from the marketing of their own name, image and likeness (a practice that was

21   largely prohibited until 2021).

22           24.     Specifically, at that time, TBG believed the prohibition on athletes marketing their

23   own NIL was likely going to change or be eliminated, so it began developing a strategy to market

24   its professional sports group licensing experience to college athletic departments.

25           25.     TBG invested significant time, effort, and money into this belief and strategy, even

26   before the rules surrounding NIL were changed, going so far as to develop co-branded programs

27   with one particular universitys alumni in two different sports so that the foundations for future

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 1   work with current student-athletes would be in place when the NIL restrictions were lifted by the

 2   NCAA.

 3           26.    When the NIL rules did eventually change in 2021, college athletes were permitted

 4   to capitalize on their NIL while still in school, and TBG quickly became a leader in the new

 5   industry of collegiate group licensing.

 6                       TBGs Agreements with Schools and Student-Athletes

 7           27.    To capitalize on co-branding opportunities for its student-athlete clients, TBG

 8   enters into Collaboration Agreements with colleges and universities to manage the schools Group

 9   Licensing Programs  which it defines as those licensing or sponsorship programs in which a

10   collegiate licensee or collegiate sponsor uses the Athlete Attributes of three (3) or more Athletes

11   from any one specific sport or six (6) or more Athletes from multiple sports in combination with

12   University trademarks.

13           28.    TBG typically defines Athlete Attributes to mean the Athletes name, nickname,

14   initials, autograph/signature, facsimile, voice, caricature, photograph, portrait, picture, image,

15   likeness, jersey number, statistics, data, biographical information or any other identifiable feature

16   in Collegiate Group Licensing Programs of any kind.

17           29.    As used herein, Partner Schools refers to those colleges and universities with

18   whom TBG has entered into Collaboration Agreements to manage the schools Group Licensing

19   Programs.

20           30.    Pursuant to these Collaboration Agreements, TBG obtains the right to work with

21   its Partner Schools licensees and sponsors to explore and develop co-branded opportunities for

22   student-athletes and to manage the schools Group Licensing Programs.

23           31.    In connection with the Collaboration Agreements, TBG separately contracts with

24   individual student-athletes at these Partner Schools, entering into Group Licensing Authorization

25   and Assignment Agreements (GLAs), through which a participating student-athlete grants and

26   assigns to TBG the right to use and to grant to licensees and sponsors the right to use the student-

27   athletes NIL for co-branded opportunities with the student-athletes school and sports team in

28   group licensing programs.
                                                     6
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 1           32.      Presently, 65 of TBGs Partner Schools have NCAA football programs, 54 of which

 2   are Division I schools. TBG likewise has active GLAs with 3,725 current-roster 2 football players

 3   at these Partner Schools, including players residing in California.

 4           33.      As used herein, Client Athletes refers to those 3,725 student-athlete football

 5   players with whom TBG has entered into GLAs for the right to use and market the players NIL

 6   in connection with their respective schools Group Licensing Programs.

 7           34.      TBGs Collaboration Agreements and GLAs may differ slightly between parties,

 8   but the material provisions relevant to this action are substantially the same across all of those

 9   contract.

10           35.      Each GLA provides for the assignment of the Client Athletes NIL rights in

11   connection with their schools Group Licensing Program, stating as follows:

12                    The undersigned, an Athlete at [Partner School], hereby grants and
                      assigns to TBG and its licensing affiliates during the term only of this
13
                      Agreement, the worldwide right to use and to grant to licensees and
14                    sponsors the right to use all or any combination of [Client Athletes]
                      name, nickname, initials, autograph/signature, facsimile, voice,
15                    caricature, photograph, portrait, picture, image, likeness, jersey
                      number, statistics, data, biographical information or any other
16                    identifiable feature (collectively known as Athlete Attributes) in
17                    Collegiate Group Licensing Programs that also include the use of [Partner
                      Schools] intellectual property. Collegiate Group Licensing Programs are
18                    defined as those licensing or sponsorship programs in which a collegiate
                      licensee or collegiate sponsor uses the Athlete Attributes of three (3) or
19                    more current [Partner School] Athletes from one sport or six (6) or more
                      from multiple sports, either in combination with University trademarks and
20                    logos or separately as a group.
21
                      (emphasis added).
22

23           36.      Attached as Exhibit 1 is a true and correct copy of TBGs GLA template that TBG

24   uses with its Client Athletes.3 The template GLA of Exhibit 1 is substantially similar to all of

25   TBGs executed GLAs in all material aspects.

26   2
      This number does not include incoming 2023 freshmen, a number of whom TBG has entered into GLAs with or
     with whom TBG is in final discussions.
27   3
      TBG will provide a list of all Client Athletes with whom TBG has entered into GLAs upon request and once a
28   confidential protective order is entered.
                                                         7
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 1           37.    TBGs GLAs further clarify that, [t]he focus of the Collegiate Group Licensing

 2   Programs will be co-branded licensing opportunities involving groups of Athletes NIL along with

 3   [the Partner Schools] IP.

 4           38.    In combination, TBGs Collaboration Agreements with the Partner Schools and

 5   GLAs with the schools student-athletes allow TBG to pursue group NIL opportunities for Client

 6   Athletes, knowing that they can use the schools logos and other IP to do so; in other words, while

 7   TBG must collaborate with its Partner Schools to use their IP while pursuing opportunities for the

 8   student-athletes, TBGs clients in doing so are the student-athletesnot the schools.

 9           39.    In fact, TBG receives no compensation or royalties from the Partner Schools.

10   Pursuant to its agreements, Client Athletes assign to TBG the right to use and to grant to others

11   the right to use the Client Athletes NIL in Group Licensing deals, and TBG contracts directly with

12   sponsors and licensees for the use of its Partner Schools and Client Athletes NIL. TBG then

13   distributes the royalty revenues received from the sponsor or licensee to the participating Client

14   Athletes. Typically, TBG retains a percentage commission of the Client Athletes share of royalty

15   revenue received, including royalties from video game, trading card, merchandise, and apparel

16   sponsorships, and distributes the balance to the participating Client Athletes.

17           40.    All of TBGs Collaboration Agreements contain provisions designating TBG as

18   either the exclusive or preferred contractor for the Partner Schools Group Licensing Programs.

19           41.    The following is a representative exclusivity provision from TBGs Collaboration

20   Agreement with one Partner School in the Big Ten Conference:

21                  6. EXCLUSIVITY. During the Term of this Agreement, [University]
                    recognizes TBG and [Universitys] exclusive agent to develop, implement
22
                    and manage the Group Licensing Program among its current Athletes.
23                  During such time, [University] shall not engaged any other third party,
                    without the express written consent of TBG, to develop, implement or
24                  manage any similar program involving a group of any size of current or
                    former [University] Athletes.
25
             42.    Attached as Exhibit 2 is a true and correct copy of a Collaboration Agreement
26
     entered into between TBG and a Partner School, pursuant to which TBG is the exclusive manager
27

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 1   of the Group Licensing Program.       The Collaboration Agreement attached as Exhibit 2 is

 2   substantially the same as TBGs other Collaboration Agreements which grant TBG exclusivity.

 3           43.    Certain other of TBGs Collaboration Agreements include Preferred Provider

 4   provisions, which state that the Partner School shall consider TBG as its preferred provider of a

 5   Group Licensing Program for Athletes, and shall not, without TBGs written consent, contract

 6   with any other party to develop, implement or manage any substantially similar group licensing

 7   program for groups of any size of Athletes.

 8           44.    Attached as Exhibit 3 is a true and correct copy of a Collaboration Agreement

 9   entered into between TBG and a Partner School, pursuant to which TBG is the preferred provider

10   for the Group Licensing Program.       The Collaboration Agreement attached as Exhibit 3 is

11   substantially the same as TBGs other preferred provider agreements.

12           45.    Pursuant to TBGs Collaboration Agreements, a third-party cannot use the Partner

13   Schools trademarks, logos or other IP in combination with the NIL or other Athlete Attributes of

14   three or more of a Partner Schools student-athletes from any one specific sport or six or more

15   student-athletes from multiple sports (i.e. Group Licensing) without TBGs authorization or

16   consent.

17           46.    Note that while the Collaboration Agreements establish TBG as the exclusive or

18   preferred agent for Group Licensing Programs, neither the Collaboration Agreements nor the

19   GLAs prohibit or prevent the Partner Schools student-athletes from individually marketing or

20   licensing their NIL, so long as such NIL use does not implicate the Group Licensing Program.

21           47.    As an example, consistent with the Collaboration Agreement and the GLA, a

22   student-athlete from a Partner School could individually contract with an athletic apparel company

23   for the use of the athletes NIL in an advertising campaign depicting only that individual (e.g.

24   Michael Jordans Air Jordan campaign with Nike). In this example involving an individual

25   athlete, Group Licensing Rights are not implicated.

26           48.    Conversely, Group Licensing Rights would be implicated if three or more members

27   of a Partner Schools basketball team contracted with an athletic apparel company for the use of

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                                                   9
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 1   their NIL in an advertising campaign depicting the teammates with their school uniform and

 2   branding.

 3              49.     In fact, the GLAs include express language making clear that TBGs representation

 4   applies only to Group Licensing Rights. Each GLA includes the following:

 5                      Please note that this Agreement does NOT limit an Athletes right to grant
                        the use of his/her individual Athlete Attributes or individual NIL for
 6
                        publicity, advertising, or other commercial purposes, except that such
 7                      individual grants will not preclude the undersigned also from being covered
                        by the Collegiate Group Licensing Programs granted by TBG. This
 8                      Agreement also does not limit the Athletes right to join with other Athletes
                        to grant the group use of their NIL for publicity, advertising or other
 9                      commercial purposes IF any such other group NIL grant does not involve
10                      any use or co-branding of any kind of [Partner Schools] own IP or property
                        (such as trademarks, logos, jerseys, names, nicknames, etc.)
11
                50.     As evidenced by this language, TBGs mission is not to limit the commercial
12
     opportunities for its Client Athletes, but rather to expand those opportunities and leverage TBGs
13
     expansive experience in Group Licensing, such that its Client Athletes receive fair compensation
14
     for the use of their NIL in connection with the co-branding of their school.
15
                51.     Based on the reported compensation offered to student-athletes by EA for their
16
     participation in the Game, EAs strategy is contrary to TBGs mission and certainly contrary to
17
     the interests of TBGs Client Athletes; EAs strategy is, in fact, contrary to the interests of college
18
     football studentathletes, generally.
19
                                              History of EA Sports Game
20
                52.     Before NCAA rules allowed student-athletes to profit off of NIL, beginning in
21
     1998, EA Sports produced and sold its NCAA-branded video game featuring various college
22
     football teams that allowed users to control digital avatars of college football players in simulated
23
     matches.4
24

25

26

27
     4
28       Gia Silahian, EA Sports: It's in the Federal Legislation, 45 Hastings COMM. & ENT. L.J. 75 (2023).
                                                            10
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 1                 53.   EA Sports first released the game in 1998, under the title NCAA Football 98, and

 2   thereafter released a new version of NCAA Football each year until 2013 (the 1998-2013 version

 3   of the game is collectively referred to herein as NCAA Football).

 4                 54.   NCAA Football included a unique digital avatar for each college football player

 5   represented in the game. The digital avatars did not identify the players by name, but they did

 6   possess the same identifying attributes, including their playing position and uniform number. 5

 7                 55.   Consistent with NCAA rules at the time, EA Sports did not compensate the players

 8   for use of their NIL in NCAA Football.6

 9                 56.   The NCAA Football franchise was a consistent top-seller for EA Sports, generating

10   tens of millions in unit sales between 2005-2014.7

11                 57.   Despite its massive popularity, following a number of legal challenges regarding

12   compensation for student-athletes, EA Sports stopped producing NCAA Football in 2013.

13                 58.   After its discontinuation and in recent years, a college football video game was one

14   of the most-requested games by fans to EA Sports.8

15                            EAs Announced Return of EA Sports College Football

16                 59.   On February 2, 2021, EA Sports announced that it was bringing back the Game, to

17   be relaunched as EA Sports College Football.

18                 60.   In its February 2, 2021 press release, EA Sports Executive Vice President and

19   General Manager, Cam Weber, touted that [w]eve heard from the millions of passionate fans

20   requesting the return of college football video games, and we are beyond thrilled to say we are

21   back in development.

22                 61.   EA Sports also announced that it would be partnering with Collegiate Licensing

23   Committee (CLC), a collegiate trademark licensing company, to develop the Game. In its

24
     5
         In re NCAA Student-Athlete Name & Likeness Licensing Litig., 724 F.3d 1268, 1271 (9th Cir. 2013).
25   6
         See id.
26   77
        EA Sports Press Release, Electronic Arts & CLC to Bring Back College Football Video Games,
     https://ir.ea.com/press-releases/press-release-details/2021/Electronic-Arts--CLC-to-Bring-Back-College-Football-
27   Video-Games/default.aspx (February 2, 2021).
     8
28       Id.
                                                           11
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 1   February 2, 2021 announcement, EA revealed that it had reached a deal with CLC that includes

 2   licenses for nearly 100 Football Bowl Subdivision (FBS)9 schools intellectual property  such

 3   as logos, stadiums, mascots, and fight songs.10

 4             62.      CLCs Chief Executive Officer, Cory Moss, shared in EA Sports excitement,

 5   stating that he was excited to bring back one of the most popular collegiate licensed products in

 6   our history.

 7             63.      EA Sports February 2021 announcement came amid uncertainty regarding NCAA

 8   rules relating to student-athlete NIL rights, and at the time, EA Sports reported that the Game

 9   would not include student-athlete NIL but noted that EA Sports was watching developments with

10   NIL closely.

11             64.      Following the Supreme Courts decision in Alston, EA Sports released the

12   following statement:

13                      We are watching the recent developments regarding student-athlete
                        name, image and likeness very closely. It's still very early stages at
14                      this point, and we plan to explore the possibility of including players
                        in EA SPORTS College Football. For now, our development team
15                      is focused on working with our partners at CLC to ensure the game
                        authentically showcases the great sport of college football and the
16                      more than 100 institutions signed on to be featured in our game. 11
17
               65.      Aware of the publicity surrounding EA Sports announcement about the Game, and
18
     its related statements regarding the use of student-athlete NILs within the same, TBG reached out
19
     to EA Sports early-on to ensure it was aware of and honored TBGs rights with respect to group
20
     licensing management for its Partner Schools.
21
               66.      In fact, as early as 2021, TBGs representatives were in regular communication
22
     with EA about TBGs Collaboration Agreements with Partner Schools, with TBG regularly
23

24
     9
25     NCAA Division I Football Bowl Subdivision is the highest level of college football and generally consists of the
     largest schools in the NCAA. Presently, there are 133 schools in the FBS.
26   10
       Mike Hume and Rick Maese, EA Sports revives college football franchise as courts mull NCAAs stance on
     amateurism, https://www.washingtonpost.com/video-games/2021/02/02/ea-sports-college-football/ (February 2,
27   2021).
     11
28        Gia Silahian, EA Sports: It's in the Federal Legislation, 45 Hastings COMM. & ENT. L.J. 75 (2023).
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 1   reporting to EA about new partnerships formed and discussing possible opportunities for Group

 2   Licensing, including participation of EAs Partner Schools and Client Athletes in the Game.

 3           67.    Over the next year, TBG communicated with EA about its re-release of the Game,

 4   the possible use of student-athlete NIL in the Game, and specifically about TBGs exclusive rights

 5   with respect to its Partner Schools Group Licensing Programs.

 6           68.    On April 15, 2022, Wesley Haynes, President and Founder of TBG, emailed Paul

 7   Cairns, Chief Business Officer for EA to follow up from one of their recent conversations. In his

 8   April 15, 2022 email, Mr. Haynes provided Mr. Cairns with six sample Collaboration Agreements

 9   for FBS Partner Schools to ensure that EA was aware of and understood TBGs rights. TBG is

10   now aware that EA intends to include all six of those Partner Schools in the Game.

11           69.    On May 12, 2022, Mr. Haynes spoke with Mr. Cairns again about the continued

12   development of the Game and TBGs rights with respect to Group Licensing Programs.

13           70.    During the May 12, 2022 call, Mr. Haynes discussed TBGs exclusive agreements

14   and asked whether EA planned to include TBGs Partner Schools in the Game. Mr. Cairns

15   informed Mr. Haynes that rest assured, EA would put all of TBGs Partner Schools and

16   Sponsored-Players in the Game and would enter into direct agreements with TBG at all schools

17   where TBG has rights. Mr. Cairns also stated that EA 100% plans to work with [TBG].

18           71.    Between May 2022 and May 2023, representatives of TBG and EA kept in touch

19   regarding EAs relaunch of the Game and TBGs growing list of Partner Schools for whom it is

20   the exclusive or preferred manager of Group Licensing Programs.

21           72.    On May 17, 2023, Sean OBrien, an Executive Vice President of EA, emailed Mr.

22   Haynes, et al., reporting that EA had contracted with OneTeam Partners (OneTeam) to

23   facilitate the opportunity for college athletes to opt in and be included in our CFB video game[.]

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 1           73.      That same day, EA Sports made a public announcement regarding its deal with

 2   OneTeam, which noted that the partnership will include the chance for all eligible FBS players

 3   to opt in to have their likenesses in EA Sports College Football.12

 4                                         TBGS Formal Notice to EA

 5           74.      Given TBGs previous communications with EA and Mr. Cairns assurances, it

 6   came as a shock to hear that EA was partnering with OneTeam to incorporate the NIL of student-

 7   athletes into the Game.13

 8           75.      TBG took prompt action to assert its rights to EA, sending correspondence, through

 9   counsel, to Mr. Cairns on May 18, 2023. In the May 18, 2023 correspondence, counsel for TBG

10   not only reiterated that it has exclusive Group Licensing Rights for many of the schools to be

11   featured in the Game, but also expressed concerns about the reported compensation to be paid to

12   student-athletes. A true and accurate copy of TBGs May 18, 2023 correspondence is attached

13   hereto as Exhibit 4.

14           76.      Thereafter, TBG learned that EA was communicating directly with certain of its

15   Partner Schools and telling the schools that contracting directly with EA (or an EA affiliate) to

16   participate in the Game would not implicate any group rights and would therefore not be a violation

17   of TBGs rights.

18           77.      For example, on May 24, 2023, a representative from a Partner School, a member

19   of the Big Ten Conference, emailed EA employees, Deanne Mollema and Josh Gregory, asking

20   whether opting in to the Game would create a conflict with the schools corporate sponsors. In

21   that email, the school representative informed EA that We are currently a BrandR exclusive

22   school. Mr. Gregory responded to the Partner School, advising that each student-athlete would

23   individually contract with EA, and thus group rights would not be implicated. A true and accurate

24

25   12
        See May 18, 2023 EA Sports to feature players NIL in CFB video game,
     https://www.sportsbusinessjournal.com/Daily/Closing-Bell/2023/05/17/ea-sports-college-football-video-game-
26   nil.aspx.
     13
27      Lorenzo Reyes, Its in the game! EA Sports College Football video game will allow FBS players to opt in,
     https://www.usatoday.com/story/sports/ncaaf/2023/05/17/ea-sports-college-football-video-game-will-allow-fbs-
28   players-to-opt-in/70227313007/ (May 17, 2023).
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 1   copy of the May 24, 2023 email correspondence between EA and TBGs Partner School is attached

 2   hereto as Exhibit 5.14

 3           78.      On May 30, 2023, EA Sports, through Senior Counsel, Betsy Contro, sent

 4   correspondence to TBGs counsel, confirming that EA plans to provide eligible college football

 5   athletes the opportunity to opt-in individually and license their likeness rights directly to EA for

 6   inclusions in the Game. A true and accurate copy of Ms. Contros May 30, 2023 email is attached

 7   hereto as Exhibit 6.

 8           79.      Also in her May 30, 2023 email, Ms. Contro further stated that its aim is to allow

 9   individual athletes an inclusive and equitable opportunity to decide whether or not they would like

10   their name and likeness to be included in the Game and to license those (unencumbered) rights

11   directly from eligible student athletes, independently and unrelated to any potential licensing by

12   EA of other intellectual property rights (e.g., division, conference, school, group, etc.).

13           80.      Despite the clear implication of TBGs Group Licensing rights, Ms. Contro

14   dismissed TBGs contractual relationships, stating, [t]o be clear, this has nothing to do with the

15   group rights with student athletes that BrandR claims to have.

16           81.      On May 31, 2023, TBG heard from certain of its Partner Schools that EA was

17   pressuring schools who had not yet opted in to the Game to approve their participation in the Game

18   by June 30, 2023.

19           82.      TBG learned of EAs June 30 deadline from representatives of certain of its Partner

20   Schools who asked TBG how they should proceed. TBG has heard from a number of Partner

21   Schools that the schools do not want to miss out on the opportunity for its student-athletes to

22   participate in the Game, but that they do not want to breach their contractual obligations to TBG.

23           83.      On June 1, 2023, TBGs counsel responded and sent EA Sports a second letter,

24   clearly explaining that if EA Sports intends to use the NIL of student-athletes in connection with

25   Partner Schools name, branding, logos, or other IP in the Game, and the Game involves more than

26

27   14
        To protect the confidentiality and privacy of its Partner Schools, TBG has redacted Exhibit 5. TBG will provide
28   an unredacted copy of the email upon request and once a confidential protective order is entered.
                                                          15
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 1   three individual athletes, then the Game implicates group rights. A true and accurate copy of

 2   TBGs June 1, 2023 letter is attached hereto as Exhibit 7.

 3           84.    Also in its June 1, 2023 letter, TBGs counsel notified EA that TBGs Collaboration

 4   Agreements and GLAs required that EA recognize TBG as its clients exclusive representative to

 5   the extent EA Sports wishes to include TBGs Partner Schools and Client Athletes in the Game.

 6           85.    On June 5, 2023, Ms. Contro emailed counsel for TBG and asked for a list of the

 7   student-athletes represented by TBG. Counsel for TBG responded on June 7, 2023, identifying

 8   the following Partner Schools for whom TBG is the exclusive or preferred partner for their

 9   respective Group Licensing Programs:

10   Appalachian State          University of Louisville*    Oregon State University
     University
11   Arizona State              Marshall University          University of Pittsburgh
     University
12   University of Arkansas     University of Maryland       Purdue University
13   Auburn University          University of Miami*         Rutgers, The State University of New
                                                             Jersey (Rutgers University)
14   Baylor University          University of Michigan       Southern Methodist University
15   Boston College             Michigan State University    Syracuse University
16   Brigham Young            Middle Tennessee State         The University of Texas at Arlington
     University               University
17   Campbell University      Mississippi State              The University of Texas at Austin
                              University
18   University of Cincinnati University of Missouri         Texas Christian University*

19   University of Colorado     Murray State University      The University of Texas at El Paso
     Boulder
20   Colorado State             North Carolina Central       The University of Texas Permian Basin
     University                 University
21   University of              North Carolina State         The University of Texas at San Antonio
     Connecticut                University
22   University of Dayton       University of Nebraska-      Towson University
                                Lincoln
23   University of Florida      The University of North      Troy University
                                Carolina at Chapel Hill
24   Georgia Institute of       University of North Texas    The University of Utah
     Technology
25   Gonzaga University         Northwestern University      University of Virginia
26   University of Hawaii at Ohio University                University of Wyoming
     Manoa
27   University of Houston    The Ohio State University      Villanova University

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 1   Kansas State University Oklahoma State University Wake Forest University
 2   Liberty University         Old Dominion University       West Virginia University

 3   Louisiana Tech          The University of             William Marsh Rice University (Rice
     University              Mississippi (Ole Miss)        University)
 4   University of Louisiana Oral Roberts University
     at Lafayette
 5   *Schools for whom TBGs exclusivity rights are limited to the football program.

 6

 7           86.    Also in its June 7, 2023 response, TBG provided EA with the following explanation

 8   of how its Group Licensing rights are implicated by the use of TBGs Partner Schools and Student

 9   Athletes in the Game:

10                  Given the nature of the EA Sports College Football Game, we think
                    this list is sufficient to provide EA with a general understanding of
11                  TBGs representation. As we explained previously, we presume
                    that the Game will require the use of NIL from three or more football
12                  players from a given school, which necessarily implicates TBGs
                    Group Licensing Rights for its partner schools. TBG has entered
13                  into Student-Athlete Group Licensing Authorization & Assignment
                    Agreements with almost all of the football players from these
14                  schools, authorizing TBG to act as the student-athletes exclusive
                    agent with respect to their respective schools Group Licensing
15                  Program.

16
             87.    A true and accurate copy of TBGs June 7, 2023 email is attached hereto as Exhibit
17
     8.
18
             88.    To date, EA has not responded to TBGs June 7, 2023 email. Counsel for TBG
19
     followed up with Ms. Contro by email on June 12, 2023, requesting an opportunity to discuss
20
     TBGs rights and EAs plans, but EA has not responded.
21
             89.    However, notwithstanding TBGs communications, EA Sports has informed (and
22
     continues to inform) TBGs Partner Schools that Partner Schools negotiating and contracting
23
     directly with EA Sports, and Client Athletes contracting directly with EA (or an EA affiliate) will
24
     not interfere with TBGs exclusivity rights.
25
             90.    This assertion by EA is patently false.
26
             91.    EA cannot circumvent TBGs or its Partner Schools and Client Athletes
27
     contractual rights by entering into individual and direct contracts for participation in the Game.
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 1   Indeed, TBG has individual and direct contracts with each of its Client Athletes. TBGs GLAs

 2   with its Client Athletes plainly assign to TBG the right to use and license its Client Athletes NIL

 3   in licensing programs such as EAs Game, where one Client Athletes NIL will be used in

 4   combination with two or more teammates and their schools IP.

 5              92.   Further, EA continues to push TBGs Partner Schools to opt-in to the Game by its

 6   arbitrary June 30 deadline or else they will be ineligible from participating.

 7              93.   Despite repeated notices that negotiating directly with Partner Schools or Client

 8   Athletes violates TBGs Collaboration Agreements, EA Sports continues to negotiate in direct,

 9   knowing, and intentional interference with TBGs contractual rights.

10              94.   EAs conduct and misrepresentations have disrupted TBGs contractual

11   relationships with its Partner Schools and Client Athletes.

12              95.   Indeed, certain of TBGs Partner Schools have already opted-in to the Game,

13   violating their exclusive Collaboration Agreements with TBG, while others have expressed

14   confusion as to how they should proceed when they are interested in participating in the Game and

15   offering that opportunity to their student-athletes, but do not want to run afoul of their contractual

16   obligations with TBG.

17                         EAs Compensation to Student-Athletes and Schools

18              96.   EAs announced return of the Game prompted significant media interest,

19   particularly since EA revealed it would use student-athletes NIL in connection with their

20   respective teams logos and IP and that EA would compensate student-athletes for their NIL.

21              97.   In the May 17, 2023 announcement, EA Sports reported that the participating

22   players will receive compensation for being placed in the game, and that details regarding how

23   much an athlete will receive and the structure of payments  are still being finalized.15

24              98.   That same day, EA reportedly told ESPN that the goal is to be as inclusive and

25   equitable as possible[,] while OneTeams website referenced that if the influence of individual

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27
     15
28        Id.
                                                     18
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 1   sales couldnt be figured out that revenue would be divided equally among athletes included in

 2   each licensing program.16

 3           99.      Since then, numerous articles have been published regarding the reported

 4   compensation EA is offering to student-athletes for their participation in the Game. Reportedly,

 5   EA plans to offer a flat, one-time payment of $500 to each player for the use of their NIL in the

 6   Game, and no payment for royalties on actual sales of the Game.17

 7           100.     TBG has also heard from its Partner Schools that EA is offering to pay participating

 8   schools some percentage of income received from the Game, with the total compensation pool

 9   available to schools being 10% of the Games revenue, with guaranteed payments ranging from

10   $10,400 to $104,900 depending on variables such as the football programs prominence, recent

11   national ranking, etc.

12           101.     EAs proposed compensation to players for participation in the Game is far below

13   market value.

14           102.     Indeed this reported amount is far less than EA paid players in settlement of the

15   seminal NIL case, O'Bannon v. Nat'l Collegiate Athletic Ass'n, 802 F.3d 1049, 1056 (9th Cir.

16   2015), where former University of California, Los Angeles basketball player, Ed OBannon, sued

17   EA, et al., after recognizing himself as a digital avatar in EAs NCAA Basketball 2009 video game.

18   OBannon joined with other former NCAA basketball and football players to form the class of

19   student-athletes, with whom EA eventually settled for a total of $60 million. Individual players

20   received varying amounts in the settlement, but reports indicate that players received on average

21   about $1,600 each after payment of expenses and legal fees.18

22

23
     16
24      Mike McDaniel, EA Sports Reaches Agreement to Have FBS Players in College Football Game,
     https://www.si.com/college/2023/05/17/ea-sports-reaches-agreement-real-fbs-players-college-football-game-nil
25   (May 17, 2023).
     17
        James Batchelor, College football players urged to boycott EA Sports game over low pay,
26   https://www.gamesindustry.biz/college-football-players-urged-to-boycott-ea-sports-game-over-low-pay (June 8,
     2023).
27   18
        Stephen Totilo, EA Sports reaches deal to pay college football athletes, https://www.axios.com/2023/05/18/ea-
28   sports-college-football-deal (May 18, 2023).
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 1           103.     As another example, EA Sports is reportedly paying some National Football

 2   League players $28,000 each to appear in EAs annual release of its Madden video game.19

 3           104.     Not only is the reported $500 per player insufficient to compensate the Client

 4   Athletes for the use of their NIL in the Game, but TBG recently learned that the potential cost to

 5   players is even higher. EA is reportedly seeking exclusive rights to use participating schools

 6   trademarks and related indicia for any current or future simulation game play within college

 7   footballnot just the Gameand non-exclusive rights for non-simulation games. Thus, not only

 8   would players compensation for the use of their NIL in the Game be capped at $500, but they

 9   would be precluded from earning additional compensation off of their NIL in other simulation

10   games such as arcade and video game opportunities.

11           105.     This is exactly why it is critical that these student-athletes have the benefit of TBGs

12   representation in negotiating with corporate giants like EA.

13          The Client Athletes and TBG will be Irreparably Harmed if EA is not Enjoined

14           106.     EA has made clear its intent to violate not only TBGs contractual relationships,

15   but also the Client Athletes right to contract for fair representation in negotiating Group Licensing

16   sponsorships and licensing deals.

17           107.     TBGs Client Athletes have made clear their intent and desire to be represented by

18   TBG in sponsorship and licensing opportunities involving Group Licensing Programs, specifically

19   those involving video games.

20           108.     TBGs GLAs state that [t]he focus of the Collegiate Group Licensing Programs

21   will be co-branded opportunities involving groups of Athletes NIL along with [the Partner

22   Schools] IP[,] and that the Client Athletes shall receive 70% (Seventy Percent) of the royalties

23   from third-party licensees in the video game [category.]

24           109.     Unlike professional athletes, collegiate student-athletes do not yet have an

25   organized union to represent them in Group Licensing Programs.

26
     19
27      Franca Quarneti, EA Sports College Football Return Marred by Potential Boycott Over Poor Compensation,
     https://www.benzinga.com/general/gaming/23/06/32786383/ea-sports-college-football-return-marred-by-potential-
28   boycott-over-poor-compensation (June 8, 2023).
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 1           110.    For instance, players in the National Football League (NFL) are represented by

 2   the NFL Players Association (NFLPA), and the NFLPA negotiates with EA for the licensing of

 3   players NIL rights to be included in the annual Madden video game.

 4           111.    TBGs Client Athletes do not have a union, but they are not without representation.

 5   They have TBG, whom they engaged to leverage its industry expertise and substantial market

 6   share of FBS Partner Schools and Client Athletes to negotiate fair compensation for the Client-

 7   Athletes participation in Group Licensing Programs such as EAs Game.

 8           112.    TBG is informed and understands that EA intends to include mostif not allof

 9   its Partner Schools and Client Athletes in the Game. This, of course, makes sense given that TBGs

10   Partner Schools include 35 of the 65 teams in Power Five conferences 20, six of the 14 programs

11   appearing in the College Football Playoffs since 2014, nine teams ranked in the Associated Press

12   Top 25 at the end of the 2022-2023 college football season, and programs accounting for seven of

13   the 16 Bowl Championship Series (BCS) championships during the 1998-2013 BCS era.

14           113.    Further, at least 54 of TBGs Partner Schools were featured in past iterations of the

15   Game before it was discontinued.

16           114.    Because of these relationships, TBG is well-positioned to influence the amount of

17   compensation to be paid by EA to not only its Client Athletes, but to all other student-athletes who

18   may wish to participate in the Game.

19           115.    EAs attempt to exclude TBG from discussions regarding the use of Client

20   Athletes NIL in the Game amounts to anticompetitive conduct that is contrary to the public

21   interest and public policy of California.

22           116.    As collegiate NIL rights have evolved over the past several years, California has

23   particularly championed the rights of student-athletes to be fairly compensated for the use of their

24   NIL. California was the first state in the country to create a legal right for college athletes to be

25   compensated for the commercial use of their NIL. Californias Fair Pay to Play Act was

26   groundbreaking legislation in the area of student-athletes NIL rights, and importantly authorizes

27   20
       The Power Five conferences include the Atlantic Coast Conference, Big Ten Conference, Big 12 Conference,
28   Pac-12 Conference, and Southeastern Conference.
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 1   college athletes to hire agents and other representatives to assist them in negotiating and securing

 2   commercial opportunities.21

 3            117.   EA seeks to reverse that evolution, denying not only TBGs Client Athletes the

 4   right to their desired representation, but also denying all participating student-athletes fair

 5   compensation for the use of their NIL in the Game.

 6            118.   Again, EAs conduct goes beyond its failure to offer fair compensation for the

 7   Client Athletes NIL in this Game, as EA is reportedly seeking to obtain exclusivity rights for the

 8   use of Client Athletes NIL in other simulation video games, compounding the unfairness of EAs

 9   offer.

10            119.   EAs interference with TBGs exclusive Collaboration Agreements has caused and

11   will continue to cause TBG immeasurable and irreparable harm.

12            120.   EAs false and deceptive assurances to TBGs Partner Schools that contracting

13   directly with EA will not violate the Collaboration Agreements with TBG, as well as EAs artificial

14   deadline for the schools to opt-in to the Game by June 30, 2023 places TBGs Partner Schools in

15   the unenviable position of either breaching their contracts with TBG or potentially losing the

16   opportunity for themselves and their athletes to participate in the Game.

17            121.   Similarly, EAs tactics are misleading and deceptive to TBGs Client Athletes, the

18   vast majority of who are not represented by attorneys or players agents and who may unwittingly

19   opt-in to EAs game, not knowing that they are breaching their GLAs with TBG and that they are

20   also likely giving up other NIL sponsorship and licensing opportunities.

21            122.   EAs tactics will also cause irreparable harm to TBG's Client Athletes, and to every

22   student-athlete who opts-in to their scheme for unfair compensation, because they are being

23   deprived of the opportunity to have their own representative negotiate on their behalves for fair

24   compensation for the use of their NIL. That is the fundamental purpose of TBGs Collaboration

25   Agreements, and that is what is being circumvented by EA's program and its misleading tactics.

26
     21
27      See Cal. Educ. Code § 67456; Michael McCann, Whats Next After California Signs Game Changer Fair Pay to
     Play Act into Law?, https://www.si.com/college/2019/09/30/fair-pay-to-play-act-law-ncaa-california-pac-12
28   (September 30, 2019).
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 1           123.    TBG's own financial damage is also likely impossible to calculate, leading further

 2   to its irreparable harm.      Pursuant to the GLAs and Collaboration Agreements, TBGs

 3   compensation is based on a percentage of the revenue that it is able to obtain for its Client Athletes

 4   for the use of the NIL in Group Licensing arrangements.

 5           124.    If given the opportunity to represent its Client Athletes in fair negotiations with EA

 6   and in compliance with its contractual rights and its Partner Schools and Client Athlete;'

 7   contractual obligations, TBG is confident that it would successfully obtain fair compensation to

 8   for Client Athletes (and ultimately to every student athlete that opts in to EA's new Game), even

 9   after subtracting TBG's commission for its representation. Absent the opportunity to do so,

10   however, it is exceedingly difficult to calculate TBG's damagesor the damages suffered by

11   student athletes themselves by opting in to EA's unfair compensation scheme.

12                                    FIRST CLAIM FOR RELIEF
                                   (Tortious Interference with Contract)
13                                    (By TBG Against Defendants)
14           125.    TBG repeats and realleges the allegations set forth above and hereafter as if fully
15   set forth herein.
16           126.    TBG has valid and binding Collaboration Agreements with 65 Partner Schools and
17   GLAs with 3,725 Client Athletes.
18           127.    EA Sports is aware of TBGs Collaboration Agreements and GLAs, both through
19   notices from TBG directly as well as through correspondence with some of TBGs Partner Schools.
20           128.    EA Sports is in possession of certain of TBGs Collaboration Agreements and is
21   informed of every Partner School with whom TBG is the exclusive or preferred partner for the
22   schools Group Licensing Program.
23           129.    Specifically, EA Sports is aware that the use of TBGs Client Athletes NIL in the
24   Game implicates TBGs exclusive Group Licensing Rights with its Client Athletes and Partner
25   Schools and that it is a violation of TBGs contractual rights for EA to facilitate the use of the
26   Client Athletes NIL or the Partner Schools IP without TBGs involvement or consent.
27

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 1            130.   TBG does not consent to any agreement between EA (or any other third-party) and

 2   its Partner Schools and Client Athletes for the use of their respective IP and NIL in the Game.

 3            131.   By requiring TBGs Partner Schools and Client Athletes to negotiate directly with

 4   EA or an EA affiliate for their participation in the Game, EA is preventing TBG and its Partner

 5   Schools and Client Athletes from performing their contractual obligations under the Collaboration

 6   Agreements and GLAs.

 7            132.   Because of EAs interference and direct communications with TBGs Partner

 8   Schools, certain of the Partner Schools have already either contracted directly with EA or agreed

 9   to contract directly with EA for the use of their IP and their participation in the Game, in direct

10   violation of their contractual obligations to TBG.

11            133.   EA ultimately intends to engage mostif not allof TBGs Partner Schools and

12   Client Athletes to participate in the Game.

13            134.   EA Sports intended to disrupt the performance of TBG, its Partner Schools, and

14   Client Athletes of their contractual obligations under the respective Collaboration Agreements and

15   GLAs. Further, EA Sports knew the disruption of the performance by the parties of their

16   obligations under the respective Collaboration Agreements and GLAs was substantially certain to

17   occur.

18            135.   As a result of EAs interference with TBGs contractual relationships with its

19   Partner Schools and Client Athletes, TBG has been harmed by the deprivation of its contractual

20   right to represent its Client Athletes in negotiations with EA for fair compensation for the use of

21   the Client Athletes NIL in the Game.

22            136.   Also as a result of EAs interference with TBGs contractual relationships with its

23   Partner Schools and Client Athletes, TBG has suffered and will continue to suffer damages

24   resulting from lost royalties owed to TBG under the GLAs, in an amount to be determined at trial.

25   Disgorgement is also appropriate.

26            137.   EA Sports conduct was a substantial factor in causing TBGs harm.

27            138.   Further, preliminary and permanent injunctive relief is appropriate to restrain EA

28   Sports from engaging in interference.
                                                      24
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 1           139.     Because EA Sports has acted with oppression, fraud or malice, punitive damages

 2   are appropriate to punish EA Sports and make an example of EA Sports.

 3                                   SECOND CLAIM FOR RELIEF
                          (Violation of Right of Publicity; CA. Civ. Code § 3344)
 4                                     (By TBG Against Defendants)
 5           140.     TBG repeats and realleges the allegations set forth above and hereafter as if fully
 6   set forth herein.
 7           141.     Pursuant to the express terms of the GLAs between TBG and its Client Athletes,
 8   each Client Athlete assigned to TBG the right to use their NIL in Collegiate Group Licensing
 9   Programs.
10           142.     Accordingly, TBG owns the right to use the Client Athletes NIL in Collegiate
11   Group Licensing Programs, and no third-party can use the Client Athletes NIL in Group Licensing
12   deals without TBGs authorization and consent.
13           143.     In its public reports to the media and private communications with TBGs Partner
14   Schools, EA communicated a clear intent to use the NIL of mostif not allof TBGs Client
15   Athletes in its Game.
16           144.     EA has knowingly engaged certain of TBGs Partner Schools to participate in the
17   Game and has announced its intention to include the Partner Schools brand, logos, and other IP
18   in the Game.
19           145.     EA has likewise announced its intention to appropriate and use the Client Athletes
20   NIL for its own commercial gain, in knowing violation of TBGs Group Licensing Rights, without
21   TBGs consent, and in knowing violation of Cal. Civ. Code § 3344.
22           146.     EAs knowing appropriation of the Client Athletes NIL is for the purpose of
23   soliciting sales of EAs NCAA College Football video game.
24           147.     Based on the past performance of EAs NCAA College Football game and reported
25   projections, EA expects to sell millions of units of its Game, generating hundreds of millions of
26   dollars in revenue from the sale of the Game, featuring TBGs Partner Schools IP and Client
27   Athletes NIL.
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 1           148.     EAs Game will include the NIL of at least three student-athletes from the Partner

 2   Schools represented in the Game, and thus, EAs use of the Client Athletes NIL in the Game

 3   constitutes Group Licensing, as defined by TBGs Collaboration Agreements and GLAs, for which

 4   TBG owns the exclusive rights.

 5           149.     TBG does not consent to EAs use of its Client Athletes NIL in the Game.

 6           150.     As a direct and proximate result of EAs violation of TBGs right of publicity, TBG

 7   has suffered and will continue to suffer damages resulting from lost royalties owed to TBG under

 8   the GLAs, in an amount to be determined at trial. Disgorgement is also appropriate.

 9           151.     As a further direct and proximate result of the wrongful conduct set forth above,

10   TBG has been injured by the loss of the right to control the commercial exploitation of its Client

11   Athletes NIL.

12           152.     Further, preliminary and permanent injunctive relief is appropriate to restrain EA

13   Sports from engaging in interference and violating TBGs right of publicity.

14           153.     Because EA Sports has acted with oppression, fraud or malice, punitive damages

15   are appropriate to punish EA Sports and make an example of EA Sports.

16                               THIRD CLAIM FOR RELIEF
            (Violation of Common Law Right of Publicity / Misappropriation of Likeness)
17                                (By TBG Against Defendants)
18           154.     TBG repeats and realleges the allegations set forth above and hereafter as if fully
19   set forth herein.
20           155.     Pursuant to the express terms of the GLAs between TBG and its Client Athletes,
21   each Client Athlete assigned to TBG the right to use their NIL in Collegiate Group Licensing
22   Programs.
23           156.     Accordingly, TBG owns the right to use the Client Athletes NIL in Collegiate
24   Group Licensing Programs, and no third-party can use the Client Athletes NIL in Group Licensing
25   deals without TBGs authorization and consent.
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                                            VERIFIED COMPLAINT
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 1           157.     In its public reports to the media and private communications with TBGs Partner

 2   Schools, EA communicated a clear intent to use the NIL of mostif not allof TBGs Client

 3   Athletes in its Game.

 4           158.     EA has knowingly engaged certain of TBGs Partner Schools to participate in the

 5   Game and has announced its intention to include the Partner Schools brand, logos, and other IP

 6   in the Game.

 7           159.     EA has likewise announced its intention to appropriate and use the Client Athletes

 8   NIL for its own commercial gain, in violation of TBGs Group Licensing Rights, without TBGs

 9   consent, and in knowing violation of its right of publicity.

10           160.     EAs knowing appropriation of the Client Athletes NIL is for its own commercial

11   gain and for the purpose of soliciting sales of EAs NCAA College Football video game.

12           161.     Based on the past performance of EAs NCAA College Football game and reported

13   projections, EA expects to sell millions of units of its Game, generating hundreds of millions of

14   dollars in revenue from the sale of the Game, featuring TBGs Partner Schools IP and Client

15   Athletes NIL.

16           162.     EAs Game will include the NIL of at least three student-athletes from the Partner

17   Schools represented in the Game, and thus, EAs use of the Client Athletes NIL in the Game

18   constitutes Group Licensing, as defined by TBGs Collaboration Agreements and GLAs, for which

19   TBG owns the exclusive rights.

20           163.     TBG does not consent to EAs use of its Client Athletes NIL in the Game.

21           164.     As a direct and proximate result of EAs violation of TBGs right of publicity, TBG

22   has suffered and will continue to suffer damages resulting from lost royalties owed to TBG under

23   the GLAs, in an amount to be determined at trial. Disgorgement is also appropriate.

24           165.     As a further direct and proximate result of the wrongful conduct set forth above,

25   TBG has been injured by the loss of the right to control the commercial exploitation of its Client

26   Athletes NIL.

27           166.     Further, preliminary and permanent injunctive relief is appropriate to restrain EA

28   Sports from engaging in interference and violating TBGs right of publicity.
                                                     27
                                            VERIFIED COMPLAINT
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 1           167.    Because EA Sports has acted with oppression, fraud or malice, punitive damages

 2   are appropriate to punish EA Sports and make an example of EA Sports.

 3                                   FOURTH CLAIM FOR RELIEF
                  (Violation of California Business and Professions Code § 17200, et seq.)
 4                                     (By TBG Against Defendants)
 5           168.    TBG repeats and realleges the allegations set forth above and hereafter as if fully
 6   set forth herein.
 7           169.    California Business and Professions Code § 17200, et seq. (the Unfair
 8   Competition Law or UCL) prohibits unlawful, unfair and fraudulent business acts and
 9   practices.
10           170.    By negotiating directly with TBGs Partner Schoolsin direct violation of TBGs
11   exclusivity agreementsEA Sports is tortiously and unlawfully interfering with TBGs
12   contractual and business relationships and violating TBGs NIL rights. Further, EA Sports is
13   fraudulently misrepresenting the scope and nature of TBGs rights in communications with
14   athletes, schools, and the public.
15           171.    EA Sports interference is unlawful, fraudulent, and/or unfair competition in
16   violation of the UCL.
17           172.    As a direct and proximate result of EA Sports unfair, fraudulent and illegal
18   business practices, TBG is suffering and will continue to suffer financial losses if and when EA
19   Sports reaches any agreements with TBGs Partner Schools, without TBGs involvement and in
20   direct violation of EA Sports exclusivity agreements.
21           173.    Pursuant to the UCL, TBG is also entitled to injunctive relief to protect athletes,
22   schools, and the public from EAs unfair, illegal, and fraudulent practices.
23                                  FIFTH CLAIM FOR RELIEF
                                          (Declaratory Relief)
24                                   (By TBG against Defendants)

25           174.    TBG repeats and realleges the allegations set forth above and hereafter as if fully

26   set forth herein.

27           175.    TBG owns the exclusive right to negotiate under the Group Licensing Rights with

28   its Client Athletes and Partner Schools.
                                                    28
                                           VERIFIED COMPLAINT
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 1           176.      To the extent EA Sports wishes to include TBGs Partner Schools and Sponsored

 2   Students in the Game, TBGs Collaboration Agreements and GLAs require that EA recognize

 3   TBG as its clients exclusive agent.

 4           177.      By negotiating directly with TBGs Partner Schools, EA Sports is in direct violation

 5   of TBGs exclusivity agreements.

 6           178.      As a result of the foregoing, there is an actual and present controversy between

 7   TBG and EA Sports.

 8           179.      Accordingly, TBG desires a judicial declaration that TBG has exclusive rights to

 9   negotiate under its Collaboration Agreements with Partner Schools and GLAs with Client Athletes

10   and to provide EA Sports what it needs to lawfully make the Game.

11                                            PRAYER FOR RELIEF

12   WHEREFORE, Plaintiff TBG prays that the Court enter Judgment as follows:

13       1. That EA be preliminarily and permanently enjoined from the following:

14                  a. Directly or indirectly soliciting TBGs Partner Schools or Client Athletes for their

15                     participation in the Game;

16                  b. Directly or indirectly from interfering with TBGs contractual rights granted to

17                     TBG under its Collaboration Agreements with Partner Schools and GLAs with

18                     Client Athletes; and

19                  c. Directly or indirectly using, appropriating, or incorporating the NIL of TBGs

20                     Client Athletes in the Game without the express authorization and consent of

21                     TBG.

22       2. That TBG is entitled to recover damages in an amount in excess of $25,000, to be

23           determined at trial;

24       3. That TBG is entitled to recover punitive damages pursuant to California Civil Code §

25           3294;

26       4. That TBG recover costs and attorneys fees;

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                                               VERIFIED COMPLAINT
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 1       5. For a judicial declaration that TBG has exclusive rights to negotiate under its

 2           Collaboration Agreements with Partner Schools and GLAs with Client Athletes and to

 3           provide EA Sports what it needs to lawfully make the Game; and

 4       6. For such other relief as the Court deems just and proper.

 5

 6

 7                                                    KATTEN MUCHIN ROSENMAN LLP
 8

 9                                                    By: /s/ Christopher D. Beatty
10
                                                          Christopher D. Beatty (SBN 266466)
11                                                        chris.beatty@katten.com
                                                          Ashley T. Brines (SBN 322988)
12                                                        ashley.brines@katten.com
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                                                          Telephone: 310.788.4400
14                                                        Facsimile: 310.788.4471
15                                                        Richard L. Farley (pro hac vice forthcoming)
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                                                          lindsey.smith@katten.com
17                                                        Kelsey R. Panizzolo (pro hac vice
                                                          forthcoming)
18                                                        Kelsey.panizzolo@katten.com
                                                          500 S. Tryon Street, Suite 2900
19                                                        Charlotte, NC 28202-4213
                                                          Telephone: 704.344.3178
20                                                        Facsimile: 704.444.2050
21
                                                           ATTORNEYS FOR THE BRANDR GROUP,
22
                                                           LLC
23

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 1
                                            JURY DEMAND
 2

 3           Plaintiff TBG hereby demands a trial by jury.
 4
                                                     KATTEN MUCHIN ROSENMAN LLP
 5

 6
                                                     By: /s/ Christopher D. Beatty
 7

 8                                                       Christopher D. Beatty (SBN 266466)
                                                         chris.beatty@katten.com
 9                                                       Ashley T. Brines (SBN 322988)
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12
                                                         Richard L. Farley (pro hac vice forthcoming)
13                                                       Richard.farley@katten.com
                                                         Lindsey L. Smith (pro hac vice forthcoming)
14                                                       lindsey.smith@katten.com
                                                         Kelsey R. Panizzolo (pro hac vice
15                                                       forthcoming)
                                                         Kelsey.panizzolo@katten.com
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                                                         Charlotte, NC 28202-4213
17                                                       Telephone: 704.344.3178
                                                         Facsimile: 704.444.2050
18

19                                                           ATTORNEYS FOR THE BRANDR GROUP,
                                                             LLC
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                                          VERIFIED COMPLAINT
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 1                                           VERIFICATION

 2
             I, the undersigned, certify and declare that I have read the foregoing VERIFIED
 3
     COMPLAINT and know its contents. The statement following the box checked is applicable.
 4
             I am the President and Founder of The BrandR Group, LLC, a North Carolina limited
 5
     liability company, a party to this action, and am authorized to make this verification for and on its
 6
     behalf, and I make this verification for that reason. I am informed and believe and on that ground
 7
     allege that the matters stated in the document described above are true.
 8
             I declare under penalty of perjury under the laws of the State of California that the
 9
     foregoing is true and correct and that this declaration was executed this 15th day of June, 2023 in
10
     Ponte Vedra Beach, Florida.
11

12                                                         ________________________________
                                                                 Wesley Haynes
13                                                               President and Founder
14                                                               The BrandR Group, LLC

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                                            VERIFIED COMPLAINT
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                 EXHIBIT 1
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     CURRENT STUDENT-ATHLETE GROUP LICENSING AUTHORIZATION & ASSIGNMENT (Agreement)

1.      XXXX University (XX), through its Athletic Department, desires to make available a third-party,
voluntary Group Licensing Program to its current student-athletes (Athletes) in light of recent changes in
federal and state law and NCAA rules governing an Athletes name, image and likeness (NIL). The Group
Licensing Program, as defined below, is intended to celebrate the connection between XX and XX Athletes and
also to provide both an opportunity and a mechanism for those Athletes to benefit from licensing their NIL in
accordance with NCAA rules and State law and in conjunction with the Universitys official trademarks and logos.
The Brandr Group, LLC (TBG) will work on behalf of current XX Athletes to create and manage this Collegiate
Group Licensing Program.

2.      As background information regarding TBG, the company currently works on behalf of many former
college athletes to develop business combining group player rights with colleges intellectual property (IP),
and TBG also represents groups of players through the NFLPA, NBPA and MLBPA. In addition, TBG has created
a collegiate group rights program for retired NBA players and has done projects for the US Womens National
Soccer Team, helping them launch more comprehensive college-based IP programs.

3.      The undersigned, an Athlete enrolled at XX, hereby grants and assigns to TBG and its licensing affiliates
during the term only of this Agreement, the worldwide right to use and to grant to licensees and sponsors the
right to use all or any combination of the undersigneds name, nickname, initials, autograph/signature, facsimile,
voice, caricature, photograph, portrait, picture, image, likeness, jersey number, statistics, data, biographical
information or any other identifiable feature (collectively known as Athlete Attributes) in Collegiate Group
Licensing Programs of any kind. Collegiate Group Licensing Programs are defined as those licensing or
sponsorship programs in which a collegiate licensee or collegiate sponsor uses the Athlete Attributes of three
(3) or more current XX Athletes from one sport or six (6) or more from multiple sports, in combination with
University trademarks and logos.

4.      Please note that this Agreement does NOT limit an Athletes right to grant the use of his/her individual
Athlete Attributes or individual NIL for publicity, advertising, or other commercial purposes, except that such
individual grants will not preclude the undersigned also from being covered by the Collegiate Group Licensing
Programs granted by TBG. This Agreement also does not limit the Athletes right to join with other Athletes to
grant the group use of their NIL for publicity, advertising or other commercial purposes IF any such other group
NIL grant does not involve any use or co-branding of any kind of XXs own IP or property (such as trademarks,
logos, jerseys, names, nicknames, etc.)

5.      The focus of the Collegiate Group Licensing Programs will be co-branded licensing opportunities
involving groups of Athletes NIL along with XXs IP. Royalties for such opportunities will be allocated as
follows: for Collegiate Group Licensing Programs the Athletes shall receive 80% (Eighty Percent) of the
royalties from third-party licensees and sponsors for use of the group NIL or Athlete Attributes in connection
with this Collegiate Group Licensing Program, except in the categories of video games, trading cards and
Fanatics where Athletes shall receive 70% (Seventy Percent) to accommodate additional costs. TBG shall
retain 20% (Twenty Percent) and 30% (Thirty Percent) of such royalties respectively. Revenues derived from
the programs shall be apportioned and distributed on a pro rata basis based upon the usage of each individual
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Athlete on licensed products or promotions. If it is not possible to identify individual usage, then revenue will
be divided equally among the Athletes included in each licensing program. All royalty payments, together
with a detailed report to XX, will be made within thirty (30) days of the last day of each calendar quarter. Any
royalties paid by licensees after the close of royalty reporting for a particular quarter will be paid out to the
Athletes in the following quarter's payment disbursements.


6.      In consideration for this authorization and assignment of such rights set forth herein, TBG agrees to (A)
use its best efforts to maximize revenues from Collegiate Group Licensing Programs for XX Athletes; (B) act in
good faith and in the best interests of the XX Athletes; and (C) abide by applicable federal and state law, along
with NCAA and XX rules and policies, including but not limited to the NAME OF STATE LAW, the NCAAs Interim
NIL Policy, and XXs Student Athlete NIL Policy. TBG makes no representation regarding individual or other group
licensing programs or matters other than those expressed herein. This Agreement shall be construed under
STATE law without reference to its conflict of laws principles.

7.      The undersigned Athlete hereby authorizes TBG to receive payment of the assigned monies directly from
any licensees or sponsors on behalf of the Athlete prior to making the earned royalty percentage payments to
the Athlete as noted herein above. Barring a breach by TBG, this Agreement shall expire automatically one year
after the conclusion of the Athletes collegiate athletic eligibility. No new Collegiate Group Licensing Programs
will be introduced after the end of the Athletes collegiate athletic eligibility and such ongoing use of school IP
is subject to XXs consent. The undersigned may opt out of this Agreement on the anniversary of date of its
execution, providing written notice of termination has been made to TBG at <grouprights@tbgusa.com> at least
15 days prior to that anniversary date. Use of Athlete Attributes in Collegiate Group Licensing Programs
executed before a player provides a notice of termination will be allowed to continue until the expiration of
those specific Programs.

8. I UNDERSTAND THAT SIGNING THIS AGREEMENT AND PARTICIPATING IN THIS GROUP LICENSING
PROGRAM ARE PURELY VOLUNTARY.

9. IF I CHOOSE TO SIGN THIS AGREEMENT, THEN DURING THE TERM OF THIS AGREEMENT TBG SHALL
REPRESENT MY GROUP NIL RIGHTS ONLY IN ANY CO-BRANDED LICENSING THAT ALSO INCLUDES THE
UNIVERSITYS IP.

10. I AGREE THAT I AM FREE TO CONSULT WITH OR HIRE MY OWN PERSONAL AGENT OR ATTORNEY
REGARDLESS OF WHETHER I SIGN THIS AGREEMENT, AND THAT I MAY SEEK ADDITIONAL INFORMATION AT
ANY TIME FROM MY OWN AGENT OR ATTORNEY AND FROM TBG.

11. I RECOGNIZE THAT THIS AGREEMENT DOES NOT RESTRICT OR PREVENT ANY OF MY EXISTING OR FUTURE,
INDIVIDUAL NIL AGREEMENTS.

12. I ACKNOWLEDGE THAT THIS AGREEMENT DOES NOT RESTRICT ANY OF MY EXISTING GROUP NIL
AGREEMENTS NOR ANY SUCH FUTURE NIL AGREEMENTS THAT DO NOT ALSO INCLUDE THE UNIVERSITYS CO-
BRANDED IP.


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13. I UNDERSTAND THAT A THIRD PARTY, TBG, IS CREATING THIS OPPORTUNITY AND MECHANISM FOR ME
TO FURTHER EXERCISE MY NIL RIGHTS, AND THAT THE UNIVERSITY IS NOT PAYING COMPENSATION NOR
CAUSING COMPENSATION TO BE PAID TO ME.

14. I AGREE THAT MY NIL LICENSING SHALL BE COMMENSURATE WITH THE VALUE OF MY NIL AND SHALL BE
PAID BY THIRD PARTY LICENSEES THROUGH TBG TO ME.

15. I CONFIRM THAT NO COMPENSATION SHALL BE PAID OR ACCEPTED IN VIOLATION OF THE LAW OR NCAA
OR UNIVERSITY RULES, AND THAT IN PARTICULAR, NO COMPENSATION SHALL BE PAID TO ME AS A REWARD
OR INDUCEMENT FOR ANY ATHLETIC PARTICIPATION OR PERFORMANCE OR FOR MY ENROLLMENT OR
CONTINUED ENROLLMENT AT THE UNIVERSITY.



Dated: _______________________
       (Effective Date)
                                            ________________________________________
  THE BRANDR GROUP, LLC:                    Athletes Signature

  ____________________________              ________________________________________
  Signature                                 First Name

  Len Stachitas                             ________________________________________
  Name                                      Last Name

  Chief Administrative Officer              Email Address: ____________________________
  Title
                                            Phone: _________________

                                            Sport: ____________________

                                            Position: ____________________

                                            Uniform #: _____

                                            Are you an international student here on a visa?_____




                                               3
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                 EXHIBIT 4
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                                                                                                             550 S. Tryon Street
                                                                                                             Suite 2900
                                                                                                             Charlotte, NC 28202-4213
                                                                                                             +1.704.444.2000 tel
                                                                                                             katten.com..


                                                                                                             LINDSEY L. SMITH
                                                                                                             lindsey.smith@katten.com
                                                                                                             +1.704.344.3178 direct


May 18, 2023

Via Certified Mail and Email
Mr. Jake Schatz
Chief Legal Officer
Electronic Arts Inc.
209 Redwood Shores Parkway
Redwood City, CA 94065
jschatz@ea.com

Re:      LEGAL HOLD NOTICE  Retaining and Preserving All Documents and
         Electronically Stored Information about EA Sports College Football Game
         Agreement and Negotiations with OneTeam Partners

Dear Mr. Schatz:

We represent The BrandR Group (TBG) and are writing regarding Electronic Arts Inc. (EA
Sports) and its purported agreement with OneTeam Partners (OTP). We understand that EA
Sports issued a May 17 statement indicating, among other things, that, Were excited to have an
agreement in place with OneTeam Partners that will enable us to include the names and likenesses
of eligible collegiate football athletes at NCAA Division 1 Football Subdivision schools who opt-
in to being featured in EA Sports College Football.

As you know, TBG is involved in ongoing litigation with OTP, wherein TBG has asserted claims
based, in part, on disputes involving OTPs college-related negotiations and any contracts with EA
Sports. While we hope that EA Sports can remain a non-party to that litigation, you nevertheless
are hereby notified of your obligation to identify and preserve all documents1 that might possibly
be subject to discovery as part of the ongoing lawsuit between TBG and OTP. Such materials
include but are not limited to documents relating to the agreement with OTP noted in your
statement and all the negotiations leading to that agreement.

By our estimate, TBG represents the group rights of about 50-60% of the collegiate student athletes
eligible to participate in the EA Sports College Football Game. Most of those student athlete

1
 For purposes of this Legal Hold Notice, the term documents is defined to include all emails, documents,
communications, information, reports, or records, whether in paper or electronic form, in your possession
or control. Further, this Legal Hold Notice relates to all documents within the possession or control of EA
Sports or its employees, including documents stored on your electronic business network, computer
desktops, in your business or home office space, or on individual employees personal communication
devices.

                                                KATTEN MUCHIN ROSENMAN LLP
                           CENTURY CITY      CHARLOTTE           CHICAGO         DALLAS        LOS ANGELES
                             NEW YORK       ORANGE COUNTY             SHANGHAI          WASHINGTON, DC
                                  A limited liability partnership including professional corporations
                                          LONDON: KATTEN MUCHIN ROSENMAN UK LLP
       Case 4:23-cv-02994-HSG Document 7-4 Filed 06/22/23 Page 50 of 127




May 18, 2023
Page 2



contracts grant TBG exclusivity with respect to such group rights. You are, of course, aware of
such exclusivity since TBG has provided EA Sports with multiple examples of such contracts in
connection with its past business dealings. Therefore, we request that you immediately provide us
with the details of the compensation to be paid to the student athletes represented by TBG, as well
as a copy of the agreement in place between EA Sports and OTP as referenced above. From the
press reports and statements we have seen so far, the proposed compensation to the student athletes
appears to fall far below fair market value. The team at TBG sincerely hopes that such early press
reporting is inaccurate, as TBG intends to protect and advance the rights and interests of the student
athletes under contract with TBG, as well as the group rights granted by those student athletes to
TBG.

In addition, we understand that EA Sports also has been provided with samples of TBGs
Collaboration Agreements with about 70-80 Division 1 universities. In many of those agreements,
the colleges granted TBG exclusivity or preferred contractor status to manage those schools NIL
programs, including the schools IP when paired with student athletes NIL in group rights
programs. We intend to enforce all of TBGs contractual rights in this regard as well. We hope
to receive EA Sports full cooperation as we do so.

Finally, many of TBGs partner schools already have expressed concerns that the arrangement and
compensation planned by EA Sports and OTP will primarily serve the interests of those two
entities. At least some of those colleges are also concerned that the compensation that the schools
will receive will be unfair and unreasonable in light of the below market value to be paid to the
student athletes.

As we continue to look into the announced agreement between EA Sports and OTP, we look
forward to speaking with you about the impact to TBGs existing contractual rights and
relationships. In particular, we look forward to hearing from you as to how EA Sports intends to
implement its agreement with OTP without violating TBGs exclusivity rights with respect to those
student athletes and universities referenced above. Please contact me at your earliest convenience
to discuss this point.

In addition, we appreciate your cooperation in preserving the documents identified above, and we
ask that you provide us with a copy of your contract with OTP, including all exhibits, addendums,
and amendments thereto. Kindly provide this to me at your earliest convenience and by no later
than May 25, 2023.

We look forward to speaking with you soon.
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May 18, 2023
Page 3



Sincerely,




Lindsey L. Smith


Cc:    Mr. Paul Cairns, pcairns@ea.com, via email

       Richard Farley, richard.farley@katten.com, via email
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From: Gregory, Josh <jogregory@ea.com>
Sent: Wednesday, May 24, 2023 1:31 PM
To:                                                Mollema, Deanne <dmollema@ea.com>
Subject: RE: EA Sports News



Non-      Email


Hi        ,



Thanks for reaching out about this! The Compass NIL App will be used, but the college football video
game license is a standalone offer, is not part of OneTeam’s group license, and will not be bundled
with anything else.



One Team will be facilitating this offer on behalf of EA Sports through the Compass NIL App.
However, the individual license agreement will be directly with EA Sports, not as a part of OneTeam’s
group license. By opting into the EA Sports agreement, your student-athlete individually grants NIL
rights to EA Sports for our college football video game and not any other OneTeam opportunity.



Thanks,



Josh




From:                                    >
Sent: Tuesday, May 23, 2023 3:02 PM
To: Mollema, Deanne <dmollema@ea.com>; Gregory, Josh <jogregory@ea.com>
Subject: FW: EA Sports News



Deanne and Josh,



It might be too early to have answers to the questions below but wanted to forward this along from
my boss.

I think his concern is if our student athletes opt in to one-team, they will automatically be opted in to
deals via Learfield which could conflict with our current corporate sponsors.
Case 4:23-cv-02994-HSG Document 7-4 Filed 06/22/23 Page 55 of 127


We are currently a BrandR exclusive school.

Let me know if you have any feedback?



Thank you,




From:
Sent: Monday, May 22, 2023 10:56 AM
To:
Cc:
Subject: EA Sports News



      ,

Can you please reach out to EA Sports and ask if players will be able to opt in only for the EA Sports
offer through Compass or if opting in through One Team/Compass App will opt players in for all One
Team offers? Some student athletes already have deals in certain categories, and we need to
educate them on how this upcoming EA opt in with effect those agreements.

Thanks,
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                 EXHIBIT 6
       Case 4:23-cv-02994-HSG Document 7-4 Filed 06/22/23 Page 57 of 127


From:               Contro, Betsy
To:                 Smith, Lindsey L.
Subject:            Correspondence from EA re the BrandR Group
Date:               Tuesday, May 30, 2023 6:23:34 PM
Attachments:        image001.png


EXTERNAL EMAIL – EXERCISE CAUTION
Dear Ms. Smith,
I am writing on behalf of Electronic Arts Inc. (“EA”). We received your letter to EA dated May 18,
2023, on behalf of your client, The BrandR Group (“BrandR”), regarding the EA Sports College
Football game (the “Game”).

As we’ve indicated to BrandR previously, EA is not involved in BrandR’s dispute with OneTeam
Partners and has no interest in getting drawn into any such dispute. EA, however, will comply with
any legal obligations it may have with respect to such proceedings.

As publicized on May 17, EA plans to provide eligible college football athletes the opportunity to opt-
in individually and license their likeness rights directly to EA for inclusion in the Game. The aim is to
allow individual athletes an inclusive and equitable opportunity to decide whether or not they would
like their name and likeness to be included in the Game and to license those (unencumbered) rights
directly from eligible student athletes, independently and unrelated to any potential licensing by EA
of other intellectual property rights (e.g., division, conference, school, group, etc.). To be clear, this
has nothing to do with the group rights with student athletes that BrandR claims to have.
Additionally, media contacted us about statements BrandR has made to schools regarding the Game.
We ask that you advise your client to refrain from making any false statements about EA or the
Game, including suggesting that EA is currently working with BrandR or has any plans to engage
BrandR to negotiate on its behalf with schools or student athletes.

Nothing in this response is intended or be construed to constitute an express or implied waiver of
any rights or remedies that EA may have in connection with this matter, and all rights are reserved.
Regards,

Betsy Contro
Senior Counsel, Litigation
Electronic Arts Inc.
Email: bcontro@ea.com




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DELETE THIS MESSAGE FROM YOUR SYSTEM.
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                 EXHIBIT 7
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                                                                                                               550 S. Tryon Street
                                                                                                               Suite 2900
                                                                                                               Charlotte, NC 28202-4213
                                                                                                               +1.704.444.2000 tel
                                                                                                               katten.com..


                                                                                                               LINDSEY L. SMITH
                                                                                                               lindsey.smith@katten.com
                                                                                                               +1.704.344.3178 direct


June 1, 2023

Via Certified Mail and Email
Ms. Betsy Contro
Senior Counsel
Electronic Arts Inc.
209 Redwood Shores Parkway
Redwood City, CA 94065
bcontro@ea.com

Re:      EA Sports College Football Game (the Game) Agreement and Negotiations with
         OneTeam Partners

Dear Ms. Contro:

We appreciate your response to our May 18, 2023 letter. Unfortunately, your comments make
clear that either EA does not understand TBGs exclusive group licensing rights, or EA plans to
intentionally violate those rights.

You claim in your May 31, 2023 email that the Game has nothing do with TBGs exclusive
group licensing agreements between it and the dozens of schools and thousands of student-athletes
TBG represents. You seem to suggest that because EA is contracting separately with the individual
student-athletes and their schools, that the Game does not affect group rights. To be clear, if EA
plans to use the names, images, and likenesses of student-athletes in connection with the students
school name, branding, logos, or other intellectual property, and it involves more than three
individual athletes, then the Game necessarily implicates group rights. EA cannot circumvent
TBGs exclusive agreements by entering into what it considers individual or independent
deals with the student-athletes and schools. We suspect you may understand this concept given
your current agreements with the NFLPA and NBPA.

Under TBGs agreements, Group Licensing Programs are defined as those licensing or
sponsorship programs in which a collegiate licensee or collegiate sponsor uses the Athlete
Attributes1 of three (3) or more current Athletes from any one specific sport or six (6) or more
Athletes from multiple sports in combination with University trademarks. By definition, the
Game constitutes a Group Licensing Program, for which TBGs contractual agreements require
that EA recognize TBG as its clients exclusive agent. Thus, to the extent EA seeks to include

1
   Athlete Attributes include all or any combination of the designated athletes name, nickname, initials,
autograph/signature, facsimile, voice, caricature, photograph, portrait, picture, image, likeness, jersey number,
statistics, data, biographical information or any other identifiable feature.

                                                  KATTEN MUCHIN ROSENMAN LLP
                             CENTURY CITY      CHARLOTTE           CHICAGO         DALLAS        LOS ANGELES
                               NEW YORK       ORANGE COUNTY             SHANGHAI          WASHINGTON, DC
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June 1, 2023
Page 2



TBG-represented student-athletes and schools in its Game, EA must work with TBG to negotiate
the student-athlete terms.

We have heard from certain of TBGs partner schools that EA does in fact intend to use TBG-
sponsored student-athletes and schools in the Game, and that EA is informing TBGs partners that
this will not interfere with TBGs exclusivity rights. Based on the explanation in your email, this
statement is false. We also understand that EA is telling schools and universities that they must
opt in to the Game by June 30, 2023, or else they will be ineligible from participating. Given the
urgency EA has created with this supposed deadline, TBG is accelerating its review of next steps
and available remedies. TBG will not hesitate to take appropriate action against EA to protect its
contractual rights and the interests of the schools and athletes TBG represents.

Moreover, contrary to assertions made by EA and OTP, TBG has not made any public statements
regarding the Game. TBG has voiced concerns to its clients about student-athletes not having a
voice or representation regarding the financial compensation for joining the Game, which we
understand may be well below market value based on comparable video games and arrangements
with athletes from other leagues and sports. TBGs concerns are based on media reports and
statements made directly by EA to TBG.

I invite you to contact me should you wish to discuss a possible resolution between our clients. In
the meantime, TBG reserves all rights and continues to assess its next steps.

Sincerely,




Lindsey L. Smith


Cc:    Mr. Jake Schatz, jschatz@ea.com, via email
       Mr. Paul Cairns, pcairns@ea.com, via email
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                 EXHIBIT 8
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From:            Smith, Lindsey L.
To:              "Contro, Betsy"
Cc:              Schatz, Jake; Cairns, Paul; Farley, Richard L.
Subject:         RE: Correspondence from EA re the BrandR Group
Date:            Wednesday, June 7, 2023 6:45:14 PM
Attachments:     image001.png


Ms. Contro,
In response to your request, please see below for a list of the current NCAA schools with whom TBG has contracted to act
as the exclusive agent with respect to each school’s Group Licensing Program. I believe you are already in possession of
certain of TBG’s collaboration agreements, and that exclusivity language is representative of TBG’s agreements with all of
these schools. Given the nature of the EA Sports College Football Game, we think this list is sufficient to provide EA with a
general understanding of TBG’s representation. As we explained previously, we presume that the Game will require the
use of NIL from three or more football players from a given school, which necessarily implicates TBG’s Group Licensing
Rights for its partner schools. TBG has entered into Student-Athlete Group Licensing Authorization & Assignment
Agreements with almost all of the football players from these schools, authorizing TBG to act as the student-athletes’
exclusive agent with respect to their respective school’s Group Licensing Program.

We hope that this invites a discussion regarding TBG’s representation and the participation of its represented schools and
student-athletes in the Game. We reserve all rights and look forward to your response.



                                               Current TBG-Exclusive Schools
  Appalachian State            Kansas State                        North Texas                      Towson
  Arizona State                Liberty                             Northwestern                     Troy
  Arkansas                     Louisiana Tech                      Ohio State                       UConn
  Auburn                       Louisiana- Lafayette                Ohio University                  UNC
  Baylor                       Louisville*                         Oklahoma State                   UT Arlington
  Boston College               Marshall                            Old Dominion                     Utah
  BYU                          Maryland                            Ole Miss                         UTEP
  Campbell                     Miami*                              Oral Roberts                     UTPB
  Cincinnati                   Michigan                            Oregon State                     UTSA
  Colorado                     Michigan State                      Pittsburgh                       Villanova
  Colorado State               Middle Tennessee State              Purdue                           Virginia
  Dayton                       Mississippi State                   Rice                             Wake Forest
  Florida                      Missouri                            Rutgers                          West Virginia
  Georgia Tech                 Murray State                        SMU                              Wyoming
  Gonzaga                      NC Central                          Syracuse
  Hawaii                       NC State                            TCU*
  Houston                      Nebraska                            Texas
 *Schools for whom TBG’s exclusivity rights are limited to the football program.

Thank you,

Lindsey L. Smith
Partner

Katten
Katten Muchin Rosenman LLP
550 S. Tryon Street, Suite 2900 | Charlotte, NC 28202-4213
direct +1.704.344.3178
lindsey.smith@katten.com | katten.com


From: Contro, Betsy <bcontro@ea.com>
Sent: Monday, June 5, 2023 7:23 PM
To: Smith, Lindsey L. <lindsey.smith@katten.com>
Cc: Schatz, Jake <JSchatz@ea.com>; Cairns, Paul <pcairns@ea.com>; Farley, Richard L. <richard.farley@katten.com>
        Case 4:23-cv-02994-HSG Document 7-4 Filed 06/22/23 Page 63 of 127


Subject: RE: Correspondence from EA re the BrandR Group

EXTERNAL EMAIL – EXERCISE CAUTION
Dear Ms. Smith,

Your June 1 letter says that your client The BrandR Group (“TBG”) is the “exclusive agent” for its clients and that “EA must
work with TBG to negotiate the student-athlete terms.” Please identify the student-athletes that TBG claims to represent
as their exclusive agent for these purposes, and the scope of such exclusivity.

Regards,
Betsy Contro


From: Smith, Lindsey L. <lindsey.smith@katten.com>
Sent: Thursday, June 1, 2023 2:55 PM
To: Contro, Betsy <bcontro@ea.com>
Cc: Schatz, Jake <jschatz@ea.com>; Cairns, Paul <pcairns@ea.com>; Farley, Richard L. <richard.farley@katten.com>
Subject: RE: Correspondence from EA re the BrandR Group

Ms. Contro,
Please see the attached correspondence regarding this matter.

Thank you,

Lindsey L. Smith
Partner

Katten
Katten Muchin Rosenman LLP
550 S. Tryon Street, Suite 2900 | Charlotte, NC 28202-4213
direct +1.704.344.3178
lindsey.smith@katten.com | katten.com


From: Contro, Betsy <bcontro@ea.com>
Sent: Tuesday, May 30, 2023 6:23 PM
To: Smith, Lindsey L. <lindsey.smith@katten.com>
Subject: Correspondence from EA re the BrandR Group

EXTERNAL EMAIL – EXERCISE CAUTION
Dear Ms. Smith,

I am writing on behalf of Electronic Arts Inc. (“EA”). We received your letter to EA dated May 18, 2023, on behalf of your
client, The BrandR Group (“BrandR”), regarding the EA Sports College Football game (the “Game”).

As we’ve indicated to BrandR previously, EA is not involved in BrandR’s dispute with OneTeam Partners and has no interest
in getting drawn into any such dispute. EA, however, will comply with any legal obligations it may have with respect to such
proceedings.

As publicized on May 17, EA plans to provide eligible college football athletes the opportunity to opt-in individually and
license their likeness rights directly to EA for inclusion in the Game. The aim is to allow individual athletes an inclusive and
equitable opportunity to decide whether or not they would like their name and likeness to be included in the Game and to
license those (unencumbered) rights directly from eligible student athletes, independently and unrelated to any potential
licensing by EA of other intellectual property rights (e.g., division, conference, school, group, etc.). To be clear, this has
nothing to do with the group rights with student athletes that BrandR claims to have.

Additionally, media contacted us about statements BrandR has made to schools regarding the Game. We ask that you
advise your client to refrain from making any false statements about EA or the Game, including suggesting that EA is
currently working with BrandR or has any plans to engage BrandR to negotiate on its behalf with schools or student
         Case 4:23-cv-02994-HSG Document 7-4 Filed 06/22/23 Page 64 of 127


athletes.

Nothing in this response is intended or be construed to constitute an express or implied waiver of any rights or remedies
that EA may have in connection with this matter, and all rights are reserved.

Regards,

Betsy Contro
Senior Counsel, Litigation
Electronic Arts Inc.
Email: bcontro@ea.com




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     Case 4:23-cv-02994-HSG Document 7-4 Filed 06/22/23 Page 65 of 127



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10    500 S. Tryon Street, Suite 2900                                       6/16/2023
      Charlotte, NC 28202-4213
11    Telephone: 704.344.3178

12    Attorneys for Plaintiff
      The BrandR Group, LLC
13

14                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

15                                  COUNTY OF SAN MATEO

16

17   THE BRANDR GROUP, LLC                        )    Case No.      23-CIV-02715
                                                  )
18                  Plaintiff,                    )    VERIFIED COMPLAINT for:
19                                                )
     vs.                                                  1. Tortious Interference with Contract
                                                  )
20                                                )       2. Violation of California Civil Code §
     ELECTRONIC ARTS, INC., and DOES 1            )
21   through 10, inclusive,                                   3344
                                                  )
                                                  )       3. Violation of Right of
22                  Defendants.
                                                  )
                                                              Publicity/Misappropriation of
23                                                )
                                                  )           Likeness
24                                                )
                                                          4. Violation of California Business and
                                                  )
25                                                )           Professions Code § 17200, et seq.;
26                                                            and

27                                                        5. Declaratory Relief

28

                                         VERIFIED COMPLAINT
     157725142v12
     Case 4:23-cv-02994-HSG Document 7-4 Filed 06/22/23 Page 66 of 127



 1           Plaintiff The BrandR Group, LLC (TBG), by and through its attorneys Katten Muchin

 2   Rosenman LLP, for its complaint in this action against Defendant Electronic Arts, Inc. (EA

 3   Sports or EA), alleges as follows:

 4                                        NATURE OF THE CASE

 5           1.      This dispute involves the rights of collegiate student-athletes to receive fair

 6   compensation for the commercial use of their name, image, and likeness (NIL) and the

 7   protection of the contractual rights of those engaged to advocate for those rights.

 8           2.      For more than 100 years, National Collegiate Athletic Association (NCAA) rules

 9   limited the financial benefits student-athletes could accept for the use of their NIL. That rule

10   changed in the wake of the seminal Ninth Circuit rulings in In re NCAA Student-Athlete Name &

11   Likeness Licensing Litig., 724 F.3d 1268, 1272 (9th Cir. 2013) and O'Bannon v. NCAA, 802 F.3d

12   1049 (9th Cir. 2015), and the Supreme Courts decision in NCAA v. Alston, 141 S. Ct. 2141 (2021),

13   which ultimately divested the NCAA of its long-standing justification for prohibiting collegiate

14   athletes from commercializing their NIL and prompted the NCAA to suspend its previous

15   restrictions and allow student-athletes to profit from the use of their NIL.

16           3.      With the removal of previous barriers to paying student-athletes for their NIL has

17   come a frenzy of marketing and advertising opportunities for young student-athletes arising from

18   their participation in collegiate sports.

19           4.      This has proven especially true for those student-athletes participating in collegiate

20   football and basketball programs. Indeed, it is hard to overstate the popularity of these collegiate

21   sports in the United States, which contributes to the vast array of opportunities that are now

22   available to collegiate football and basketball players with the use of their NIL.

23           5.      One such opportunity is the return of the EA Sports College Football video game

24   (EA College Football or the Game). Originally released in the 1990s, in 2013-2014, EA

25   announced that it was discontinuing its popular football video game amid an onslaught of NIL

26

27

28

                                             VERIFIED COMPLAINT
     157725142v12
     Case 4:23-cv-02994-HSG Document 7-4 Filed 06/22/23 Page 67 of 127



 1   litigation in 2013-2014. The discontinuance of the Game was significant given that it reportedly

 2   generated anywhere between $80 million to $125 million per year in sales revenue.1

 3           6.       EA now plans to bring back its popular Game, but this time, EA intends to use

 4   student-athletes NIL and schools intellectual property (IP) to create a more realistic college

 5   football experience for users  one that includes realistic-looking avatars of the players and the

 6   actual branding, logos, and even fight songs from the players schools. The Game presents an

 7   exciting opportunity for young college football players to participate in what has historically been

 8   a tremendously popular and successful video game; more importantly, it presents an opportunity

 9   for these young athletes to be fairly compensated for helping to make that Game so successful.

10           7.       Unfortunately, EA Sports is trying to avoid paying collegiate football players a fair

11   price for their participation in the Game, continuing the pre-OBannon pattern of large

12   corporations taking advantage of young student-athletes and capitalizing on their NIL. EA Sports

13   is reportedly offering student-athletes a flat fee of just $500 per athlete to participate in a Game

14   which is expected to yield EA Sports significant revenue in year over year sales. As the contractual

15   representative for student-athletes in Group Rights Programs co-branded with schools IP, this is

16   what TBG is trying to prevent.

17           8.       TBG is a brand management, marketing, and licensing business that holds exclusive

18   Group Rights Licensing Agreements with dozens of FCS and FBS colleges and universities and

19   thousands of football players for these schools. Generally, under these agreements, TBG has been

20   engaged to act as the exclusive agent for student-athletes to secure third-party sponsorships and

21   licensing opportunities for Group Licensing Programs  defined as licensing or sponsorship

22   programs in which a collegiate licensee or collegiate sponsor uses the Athlete Attributes (as

23
     1
24     Kristi Dosh, How much did Schools Make from EA Sportss NCAA Football Previously?,
     https://businessofcollegesports.com/name-image-likeness/how-much-did-schools-make-from-ea-sportss-ncaa-
25   football-
     previously/#:~:text=Industry%20analysts%20back%20then%20told,Sports'%20total%20revenue%20per%20year .
26   (May 17, 2023) (reporting that EA Sports College Football generated $125 million in annual sales revenue); but see
     Steve Berkowitz, How EA Sportss NCAA Football video game could make a comeback,
27   https://www.usatoday.com/story/sports/2019/05/20/how-ea-sportss-ncaa-football-video-game-could-make-
     comeback/3704876002/ (May 20, 2019) (reporting that EA executive previously testified that EA Sports College
28   Football generated $80 million in sales revenue on the sale of roughly 2 million units).
                                                          2
                                                 VERIFIED COMPLAINT
     157725142v12
     Case 4:23-cv-02994-HSG Document 7-4 Filed 06/22/23 Page 68 of 127



 1   defined below) of three (3) or more current athletes from one sport or six (6) or more from multiple

 2   sports in combination with school trademarks, logos, and other IP.

 3           9.       Unlike the student-athletes it represents, TBG is well-positioned to negotiate with

 4   corporate sponsors and licensees  such as EA Sports  in order to ensure that its clients receive

 5   fair market value for the use of their respective NIL. TBG is powered by a team of individuals

 6   with decades of collective management experience for some of the worlds largest brands. TBG

 7   and its principals have substantial experience in the group licensing business and have developed

 8   significant goodwill among its clients and customers.

 9           10.      Since the announcement that EA was developing a new version of the Game, TBG

10   has paid careful attention to media and industry reports relating to EAs use of players NIL and

11   schools IP. Representatives of TBG promptly notified EA of its exclusive Group Licensing

12   agreements and informed EA that any attempt to secure TBGs collaborating schools and client

13   student athletes participation in the Game without the consent or involvement of TBG would be

14   a violation of those agreements.

15           11.      Although TBG expressly informed EA of its exclusive contractual rights at

16   collaborating schools that are implicated by the TBG-represented student-athletes included in the

17   Game, EA is pressuring and coercing or attempting to coerce TBGs exclusive collaborating

18   universities to opt-in to the Game, agreeing to a structure that will reportedly pay the student-

19   athletes a flat fee that is far below market value and does not include any payments for future

20   royalties.

21           12.      Given the ever-changing landscape of collegiate NIL rights, there is no bright-line

22   rule for what a third-party must pay for the use of a student-athletes NIL in certain contexts. The

23   issue of collegiate NIL rights has dominated sports headlines and been a hotly litigated subject for

24   several years.     Fortunately, while the legislation surrounding student-athlete NIL rights is

25   relatively new and still evolving, the law of contracts is not.

26           13.      This is a textbook case of tortious interference by EA of TBGs contractual rights

27   with thousands of student-athletes and at schools where TBG has exclusive Collaboration

28   Agreements. TBG files this Complaint to prevent EA Sports from intentionally interfering with
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 1   its contractual rights, violating its right to publicity, and causing irreparable harm to TBG and the

 2   student-athletes it represents at collaborating schools.

 3                              PARTIES, JURISDICTION AND VENUE

 4           14.    Plaintiff TBG is a limited liability company organized under the laws of the state

 5   of North Carolina with a principal place of business at 100 Corridor Road, Suite 200, Ponte Vedra

 6   Beach, FL 32082.

 7           15.    Upon information and belief, Defendant EA Sports is corporation organized under

 8   the laws of the state of Delaware with its principal office located at 209 Redwood Shores Parkway,

 9   Redwood City, California 94065.

10           16.    TBG is informed and believes, and on that basis alleges, that Defendants DOES 1
11
     through 10, inclusive, are individually and/or jointly liable to TBG for the wrongs alleged herein.
12
     The true names and capacities, whether individual, corporate, associate or otherwise, of
13
     Defendants DOES 1 through 10, inclusive, are unknown to TBG at this time. Accordingly, TBG
14

15   sues Defendants DOES 1 through 10, inclusive, by fictitious names and will amend this Complaint

16   to allege their true names and capacities after they are ascertained.

17
             17.    The Court has subject matter jurisdiction over this action, and venue is proper in
18
     San Mateo County, because Defendant EA Sports maintains its principal place of business in
19
     Redwood City, California.
20
             18.    The Court has general personal jurisdiction over Defendant EA Sports because it
21
     maintains its principal place of business in Redwood City, California and the exercise of
22
     jurisdiction over Defendant EA Sports is consistent with the Constitutions of California and the
23
     United States of America.
24

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 1                                     FACTUAL BACKGROUND

 2                                        TBG and NIL Licensing

 3           19.     TBG is a leader in the collegiate group licensing space, using its industry

 4   experience and relationships to facilitate co-branding opportunities for student-athletes and their

 5   schools.

 6           20.     Co-branding is the combining of the name, image, likeness, and other intellectual

 7   property rights owned by a particular athlete, aggregated with the branding rights from another

 8   entity, such as the school for which that athlete competes.

 9           21.     For example, when a fan wants to purchase the jersey of their favorite college

10   quarterback (QB1), the fan is purchasing an item that needs to be licensed from at least two

11   sources: (1) QB1, for the use of his NIL; and (2) QB1s university, for the use of its logo and

12   related IP. TBG steps into this deal by grouping the rights and marketing them together to

13   companiessuch as jersey manufacturersin order to create an efficient and effective way to

14   create co-branded products, services, events and the like.

15           22.     It is in this industry (among others) that TBG has invested significant time, energy

16   and money, building a sterling reputation and substantial goodwill, and in the process creating a

17   brand for itself.

18           23.     Beginning as early as 2017, TBG believed that college athletics was likely to

19   undergo significant change with respect to NIL programs across the country to allow college

20   athletes to benefit from the marketing of their own name, image and likeness (a practice that was

21   largely prohibited until 2021).

22           24.     Specifically, at that time, TBG believed the prohibition on athletes marketing their

23   own NIL was likely going to change or be eliminated, so it began developing a strategy to market

24   its professional sports group licensing experience to college athletic departments.

25           25.     TBG invested significant time, effort, and money into this belief and strategy, even

26   before the rules surrounding NIL were changed, going so far as to develop co-branded programs

27   with one particular universitys alumni in two different sports so that the foundations for future

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 1   work with current student-athletes would be in place when the NIL restrictions were lifted by the

 2   NCAA.

 3           26.    When the NIL rules did eventually change in 2021, college athletes were permitted

 4   to capitalize on their NIL while still in school, and TBG quickly became a leader in the new

 5   industry of collegiate group licensing.

 6                       TBGs Agreements with Schools and Student-Athletes

 7           27.    To capitalize on co-branding opportunities for its student-athlete clients, TBG

 8   enters into Collaboration Agreements with colleges and universities to manage the schools Group

 9   Licensing Programs  which it defines as those licensing or sponsorship programs in which a

10   collegiate licensee or collegiate sponsor uses the Athlete Attributes of three (3) or more Athletes

11   from any one specific sport or six (6) or more Athletes from multiple sports in combination with

12   University trademarks.

13           28.    TBG typically defines Athlete Attributes to mean the Athletes name, nickname,

14   initials, autograph/signature, facsimile, voice, caricature, photograph, portrait, picture, image,

15   likeness, jersey number, statistics, data, biographical information or any other identifiable feature

16   in Collegiate Group Licensing Programs of any kind.

17           29.    As used herein, Partner Schools refers to those colleges and universities with

18   whom TBG has entered into Collaboration Agreements to manage the schools Group Licensing

19   Programs.

20           30.    Pursuant to these Collaboration Agreements, TBG obtains the right to work with

21   its Partner Schools licensees and sponsors to explore and develop co-branded opportunities for

22   student-athletes and to manage the schools Group Licensing Programs.

23           31.    In connection with the Collaboration Agreements, TBG separately contracts with

24   individual student-athletes at these Partner Schools, entering into Group Licensing Authorization

25   and Assignment Agreements (GLAs), through which a participating student-athlete grants and

26   assigns to TBG the right to use and to grant to licensees and sponsors the right to use the student-

27   athletes NIL for co-branded opportunities with the student-athletes school and sports team in

28   group licensing programs.
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 1           32.      Presently, 65 of TBGs Partner Schools have NCAA football programs, 54 of which

 2   are Division I schools. TBG likewise has active GLAs with 3,725 current-roster 2 football players

 3   at these Partner Schools, including players residing in California.

 4           33.      As used herein, Client Athletes refers to those 3,725 student-athlete football

 5   players with whom TBG has entered into GLAs for the right to use and market the players NIL

 6   in connection with their respective schools Group Licensing Programs.

 7           34.      TBGs Collaboration Agreements and GLAs may differ slightly between parties,

 8   but the material provisions relevant to this action are substantially the same across all of those

 9   contract.

10           35.      Each GLA provides for the assignment of the Client Athletes NIL rights in

11   connection with their schools Group Licensing Program, stating as follows:

12                    The undersigned, an Athlete at [Partner School], hereby grants and
                      assigns to TBG and its licensing affiliates during the term only of this
13
                      Agreement, the worldwide right to use and to grant to licensees and
14                    sponsors the right to use all or any combination of [Client Athletes]
                      name, nickname, initials, autograph/signature, facsimile, voice,
15                    caricature, photograph, portrait, picture, image, likeness, jersey
                      number, statistics, data, biographical information or any other
16                    identifiable feature (collectively known as Athlete Attributes) in
17                    Collegiate Group Licensing Programs that also include the use of [Partner
                      Schools] intellectual property. Collegiate Group Licensing Programs are
18                    defined as those licensing or sponsorship programs in which a collegiate
                      licensee or collegiate sponsor uses the Athlete Attributes of three (3) or
19                    more current [Partner School] Athletes from one sport or six (6) or more
                      from multiple sports, either in combination with University trademarks and
20                    logos or separately as a group.
21
                      (emphasis added).
22

23           36.      Attached as Exhibit 1 is a true and correct copy of TBGs GLA template that TBG

24   uses with its Client Athletes.3 The template GLA of Exhibit 1 is substantially similar to all of

25   TBGs executed GLAs in all material aspects.

26   2
      This number does not include incoming 2023 freshmen, a number of whom TBG has entered into GLAs with or
     with whom TBG is in final discussions.
27   3
      TBG will provide a list of all Client Athletes with whom TBG has entered into GLAs upon request and once a
28   confidential protective order is entered.
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 1           37.    TBGs GLAs further clarify that, [t]he focus of the Collegiate Group Licensing

 2   Programs will be co-branded licensing opportunities involving groups of Athletes NIL along with

 3   [the Partner Schools] IP.

 4           38.    In combination, TBGs Collaboration Agreements with the Partner Schools and

 5   GLAs with the schools student-athletes allow TBG to pursue group NIL opportunities for Client

 6   Athletes, knowing that they can use the schools logos and other IP to do so; in other words, while

 7   TBG must collaborate with its Partner Schools to use their IP while pursuing opportunities for the

 8   student-athletes, TBGs clients in doing so are the student-athletesnot the schools.

 9           39.    In fact, TBG receives no compensation or royalties from the Partner Schools.

10   Pursuant to its agreements, Client Athletes assign to TBG the right to use and to grant to others

11   the right to use the Client Athletes NIL in Group Licensing deals, and TBG contracts directly with

12   sponsors and licensees for the use of its Partner Schools and Client Athletes NIL. TBG then

13   distributes the royalty revenues received from the sponsor or licensee to the participating Client

14   Athletes. Typically, TBG retains a percentage commission of the Client Athletes share of royalty

15   revenue received, including royalties from video game, trading card, merchandise, and apparel

16   sponsorships, and distributes the balance to the participating Client Athletes.

17           40.    All of TBGs Collaboration Agreements contain provisions designating TBG as

18   either the exclusive or preferred contractor for the Partner Schools Group Licensing Programs.

19           41.    The following is a representative exclusivity provision from TBGs Collaboration

20   Agreement with one Partner School in the Big Ten Conference:

21                  6. EXCLUSIVITY. During the Term of this Agreement, [University]
                    recognizes TBG and [Universitys] exclusive agent to develop, implement
22
                    and manage the Group Licensing Program among its current Athletes.
23                  During such time, [University] shall not engaged any other third party,
                    without the express written consent of TBG, to develop, implement or
24                  manage any similar program involving a group of any size of current or
                    former [University] Athletes.
25
             42.    Attached as Exhibit 2 is a true and correct copy of a Collaboration Agreement
26
     entered into between TBG and a Partner School, pursuant to which TBG is the exclusive manager
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 1   of the Group Licensing Program.       The Collaboration Agreement attached as Exhibit 2 is

 2   substantially the same as TBGs other Collaboration Agreements which grant TBG exclusivity.

 3           43.    Certain other of TBGs Collaboration Agreements include Preferred Provider

 4   provisions, which state that the Partner School shall consider TBG as its preferred provider of a

 5   Group Licensing Program for Athletes, and shall not, without TBGs written consent, contract

 6   with any other party to develop, implement or manage any substantially similar group licensing

 7   program for groups of any size of Athletes.

 8           44.    Attached as Exhibit 3 is a true and correct copy of a Collaboration Agreement

 9   entered into between TBG and a Partner School, pursuant to which TBG is the preferred provider

10   for the Group Licensing Program.       The Collaboration Agreement attached as Exhibit 3 is

11   substantially the same as TBGs other preferred provider agreements.

12           45.    Pursuant to TBGs Collaboration Agreements, a third-party cannot use the Partner

13   Schools trademarks, logos or other IP in combination with the NIL or other Athlete Attributes of

14   three or more of a Partner Schools student-athletes from any one specific sport or six or more

15   student-athletes from multiple sports (i.e. Group Licensing) without TBGs authorization or

16   consent.

17           46.    Note that while the Collaboration Agreements establish TBG as the exclusive or

18   preferred agent for Group Licensing Programs, neither the Collaboration Agreements nor the

19   GLAs prohibit or prevent the Partner Schools student-athletes from individually marketing or

20   licensing their NIL, so long as such NIL use does not implicate the Group Licensing Program.

21           47.    As an example, consistent with the Collaboration Agreement and the GLA, a

22   student-athlete from a Partner School could individually contract with an athletic apparel company

23   for the use of the athletes NIL in an advertising campaign depicting only that individual (e.g.

24   Michael Jordans Air Jordan campaign with Nike). In this example involving an individual

25   athlete, Group Licensing Rights are not implicated.

26           48.    Conversely, Group Licensing Rights would be implicated if three or more members

27   of a Partner Schools basketball team contracted with an athletic apparel company for the use of

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 1   their NIL in an advertising campaign depicting the teammates with their school uniform and

 2   branding.

 3              49.     In fact, the GLAs include express language making clear that TBGs representation

 4   applies only to Group Licensing Rights. Each GLA includes the following:

 5                      Please note that this Agreement does NOT limit an Athletes right to grant
                        the use of his/her individual Athlete Attributes or individual NIL for
 6
                        publicity, advertising, or other commercial purposes, except that such
 7                      individual grants will not preclude the undersigned also from being covered
                        by the Collegiate Group Licensing Programs granted by TBG. This
 8                      Agreement also does not limit the Athletes right to join with other Athletes
                        to grant the group use of their NIL for publicity, advertising or other
 9                      commercial purposes IF any such other group NIL grant does not involve
10                      any use or co-branding of any kind of [Partner Schools] own IP or property
                        (such as trademarks, logos, jerseys, names, nicknames, etc.)
11
                50.     As evidenced by this language, TBGs mission is not to limit the commercial
12
     opportunities for its Client Athletes, but rather to expand those opportunities and leverage TBGs
13
     expansive experience in Group Licensing, such that its Client Athletes receive fair compensation
14
     for the use of their NIL in connection with the co-branding of their school.
15
                51.     Based on the reported compensation offered to student-athletes by EA for their
16
     participation in the Game, EAs strategy is contrary to TBGs mission and certainly contrary to
17
     the interests of TBGs Client Athletes; EAs strategy is, in fact, contrary to the interests of college
18
     football studentathletes, generally.
19
                                              History of EA Sports Game
20
                52.     Before NCAA rules allowed student-athletes to profit off of NIL, beginning in
21
     1998, EA Sports produced and sold its NCAA-branded video game featuring various college
22
     football teams that allowed users to control digital avatars of college football players in simulated
23
     matches.4
24

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28       Gia Silahian, EA Sports: It's in the Federal Legislation, 45 Hastings COMM. & ENT. L.J. 75 (2023).
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 1                 53.   EA Sports first released the game in 1998, under the title NCAA Football 98, and

 2   thereafter released a new version of NCAA Football each year until 2013 (the 1998-2013 version

 3   of the game is collectively referred to herein as NCAA Football).

 4                 54.   NCAA Football included a unique digital avatar for each college football player

 5   represented in the game. The digital avatars did not identify the players by name, but they did

 6   possess the same identifying attributes, including their playing position and uniform number. 5

 7                 55.   Consistent with NCAA rules at the time, EA Sports did not compensate the players

 8   for use of their NIL in NCAA Football.6

 9                 56.   The NCAA Football franchise was a consistent top-seller for EA Sports, generating

10   tens of millions in unit sales between 2005-2014.7

11                 57.   Despite its massive popularity, following a number of legal challenges regarding

12   compensation for student-athletes, EA Sports stopped producing NCAA Football in 2013.

13                 58.   After its discontinuation and in recent years, a college football video game was one

14   of the most-requested games by fans to EA Sports.8

15                            EAs Announced Return of EA Sports College Football

16                 59.   On February 2, 2021, EA Sports announced that it was bringing back the Game, to

17   be relaunched as EA Sports College Football.

18                 60.   In its February 2, 2021 press release, EA Sports Executive Vice President and

19   General Manager, Cam Weber, touted that [w]eve heard from the millions of passionate fans

20   requesting the return of college football video games, and we are beyond thrilled to say we are

21   back in development.

22                 61.   EA Sports also announced that it would be partnering with Collegiate Licensing

23   Committee (CLC), a collegiate trademark licensing company, to develop the Game. In its

24
     5
         In re NCAA Student-Athlete Name & Likeness Licensing Litig., 724 F.3d 1268, 1271 (9th Cir. 2013).
25   6
         See id.
26   77
        EA Sports Press Release, Electronic Arts & CLC to Bring Back College Football Video Games,
     https://ir.ea.com/press-releases/press-release-details/2021/Electronic-Arts--CLC-to-Bring-Back-College-Football-
27   Video-Games/default.aspx (February 2, 2021).
     8
28       Id.
                                                           11
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 1   February 2, 2021 announcement, EA revealed that it had reached a deal with CLC that includes

 2   licenses for nearly 100 Football Bowl Subdivision (FBS)9 schools intellectual property  such

 3   as logos, stadiums, mascots, and fight songs.10

 4             62.      CLCs Chief Executive Officer, Cory Moss, shared in EA Sports excitement,

 5   stating that he was excited to bring back one of the most popular collegiate licensed products in

 6   our history.

 7             63.      EA Sports February 2021 announcement came amid uncertainty regarding NCAA

 8   rules relating to student-athlete NIL rights, and at the time, EA Sports reported that the Game

 9   would not include student-athlete NIL but noted that EA Sports was watching developments with

10   NIL closely.

11             64.      Following the Supreme Courts decision in Alston, EA Sports released the

12   following statement:

13                      We are watching the recent developments regarding student-athlete
                        name, image and likeness very closely. It's still very early stages at
14                      this point, and we plan to explore the possibility of including players
                        in EA SPORTS College Football. For now, our development team
15                      is focused on working with our partners at CLC to ensure the game
                        authentically showcases the great sport of college football and the
16                      more than 100 institutions signed on to be featured in our game. 11
17
               65.      Aware of the publicity surrounding EA Sports announcement about the Game, and
18
     its related statements regarding the use of student-athlete NILs within the same, TBG reached out
19
     to EA Sports early-on to ensure it was aware of and honored TBGs rights with respect to group
20
     licensing management for its Partner Schools.
21
               66.      In fact, as early as 2021, TBGs representatives were in regular communication
22
     with EA about TBGs Collaboration Agreements with Partner Schools, with TBG regularly
23

24
     9
25     NCAA Division I Football Bowl Subdivision is the highest level of college football and generally consists of the
     largest schools in the NCAA. Presently, there are 133 schools in the FBS.
26   10
       Mike Hume and Rick Maese, EA Sports revives college football franchise as courts mull NCAAs stance on
     amateurism, https://www.washingtonpost.com/video-games/2021/02/02/ea-sports-college-football/ (February 2,
27   2021).
     11
28        Gia Silahian, EA Sports: It's in the Federal Legislation, 45 Hastings COMM. & ENT. L.J. 75 (2023).
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 1   reporting to EA about new partnerships formed and discussing possible opportunities for Group

 2   Licensing, including participation of EAs Partner Schools and Client Athletes in the Game.

 3           67.    Over the next year, TBG communicated with EA about its re-release of the Game,

 4   the possible use of student-athlete NIL in the Game, and specifically about TBGs exclusive rights

 5   with respect to its Partner Schools Group Licensing Programs.

 6           68.    On April 15, 2022, Wesley Haynes, President and Founder of TBG, emailed Paul

 7   Cairns, Chief Business Officer for EA to follow up from one of their recent conversations. In his

 8   April 15, 2022 email, Mr. Haynes provided Mr. Cairns with six sample Collaboration Agreements

 9   for FBS Partner Schools to ensure that EA was aware of and understood TBGs rights. TBG is

10   now aware that EA intends to include all six of those Partner Schools in the Game.

11           69.    On May 12, 2022, Mr. Haynes spoke with Mr. Cairns again about the continued

12   development of the Game and TBGs rights with respect to Group Licensing Programs.

13           70.    During the May 12, 2022 call, Mr. Haynes discussed TBGs exclusive agreements

14   and asked whether EA planned to include TBGs Partner Schools in the Game. Mr. Cairns

15   informed Mr. Haynes that rest assured, EA would put all of TBGs Partner Schools and

16   Sponsored-Players in the Game and would enter into direct agreements with TBG at all schools

17   where TBG has rights. Mr. Cairns also stated that EA 100% plans to work with [TBG].

18           71.    Between May 2022 and May 2023, representatives of TBG and EA kept in touch

19   regarding EAs relaunch of the Game and TBGs growing list of Partner Schools for whom it is

20   the exclusive or preferred manager of Group Licensing Programs.

21           72.    On May 17, 2023, Sean OBrien, an Executive Vice President of EA, emailed Mr.

22   Haynes, et al., reporting that EA had contracted with OneTeam Partners (OneTeam) to

23   facilitate the opportunity for college athletes to opt in and be included in our CFB video game[.]

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 1           73.      That same day, EA Sports made a public announcement regarding its deal with

 2   OneTeam, which noted that the partnership will include the chance for all eligible FBS players

 3   to opt in to have their likenesses in EA Sports College Football.12

 4                                         TBGS Formal Notice to EA

 5           74.      Given TBGs previous communications with EA and Mr. Cairns assurances, it

 6   came as a shock to hear that EA was partnering with OneTeam to incorporate the NIL of student-

 7   athletes into the Game.13

 8           75.      TBG took prompt action to assert its rights to EA, sending correspondence, through

 9   counsel, to Mr. Cairns on May 18, 2023. In the May 18, 2023 correspondence, counsel for TBG

10   not only reiterated that it has exclusive Group Licensing Rights for many of the schools to be

11   featured in the Game, but also expressed concerns about the reported compensation to be paid to

12   student-athletes. A true and accurate copy of TBGs May 18, 2023 correspondence is attached

13   hereto as Exhibit 4.

14           76.      Thereafter, TBG learned that EA was communicating directly with certain of its

15   Partner Schools and telling the schools that contracting directly with EA (or an EA affiliate) to

16   participate in the Game would not implicate any group rights and would therefore not be a violation

17   of TBGs rights.

18           77.      For example, on May 24, 2023, a representative from a Partner School, a member

19   of the Big Ten Conference, emailed EA employees, Deanne Mollema and Josh Gregory, asking

20   whether opting in to the Game would create a conflict with the schools corporate sponsors. In

21   that email, the school representative informed EA that We are currently a BrandR exclusive

22   school. Mr. Gregory responded to the Partner School, advising that each student-athlete would

23   individually contract with EA, and thus group rights would not be implicated. A true and accurate

24

25   12
        See May 18, 2023 EA Sports to feature players NIL in CFB video game,
     https://www.sportsbusinessjournal.com/Daily/Closing-Bell/2023/05/17/ea-sports-college-football-video-game-
26   nil.aspx.
     13
27      Lorenzo Reyes, Its in the game! EA Sports College Football video game will allow FBS players to opt in,
     https://www.usatoday.com/story/sports/ncaaf/2023/05/17/ea-sports-college-football-video-game-will-allow-fbs-
28   players-to-opt-in/70227313007/ (May 17, 2023).
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 1   copy of the May 24, 2023 email correspondence between EA and TBGs Partner School is attached

 2   hereto as Exhibit 5.14

 3           78.      On May 30, 2023, EA Sports, through Senior Counsel, Betsy Contro, sent

 4   correspondence to TBGs counsel, confirming that EA plans to provide eligible college football

 5   athletes the opportunity to opt-in individually and license their likeness rights directly to EA for

 6   inclusions in the Game. A true and accurate copy of Ms. Contros May 30, 2023 email is attached

 7   hereto as Exhibit 6.

 8           79.      Also in her May 30, 2023 email, Ms. Contro further stated that its aim is to allow

 9   individual athletes an inclusive and equitable opportunity to decide whether or not they would like

10   their name and likeness to be included in the Game and to license those (unencumbered) rights

11   directly from eligible student athletes, independently and unrelated to any potential licensing by

12   EA of other intellectual property rights (e.g., division, conference, school, group, etc.).

13           80.      Despite the clear implication of TBGs Group Licensing rights, Ms. Contro

14   dismissed TBGs contractual relationships, stating, [t]o be clear, this has nothing to do with the

15   group rights with student athletes that BrandR claims to have.

16           81.      On May 31, 2023, TBG heard from certain of its Partner Schools that EA was

17   pressuring schools who had not yet opted in to the Game to approve their participation in the Game

18   by June 30, 2023.

19           82.      TBG learned of EAs June 30 deadline from representatives of certain of its Partner

20   Schools who asked TBG how they should proceed. TBG has heard from a number of Partner

21   Schools that the schools do not want to miss out on the opportunity for its student-athletes to

22   participate in the Game, but that they do not want to breach their contractual obligations to TBG.

23           83.      On June 1, 2023, TBGs counsel responded and sent EA Sports a second letter,

24   clearly explaining that if EA Sports intends to use the NIL of student-athletes in connection with

25   Partner Schools name, branding, logos, or other IP in the Game, and the Game involves more than

26

27   14
        To protect the confidentiality and privacy of its Partner Schools, TBG has redacted Exhibit 5. TBG will provide
28   an unredacted copy of the email upon request and once a confidential protective order is entered.
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 1   three individual athletes, then the Game implicates group rights. A true and accurate copy of

 2   TBGs June 1, 2023 letter is attached hereto as Exhibit 7.

 3           84.    Also in its June 1, 2023 letter, TBGs counsel notified EA that TBGs Collaboration

 4   Agreements and GLAs required that EA recognize TBG as its clients exclusive representative to

 5   the extent EA Sports wishes to include TBGs Partner Schools and Client Athletes in the Game.

 6           85.    On June 5, 2023, Ms. Contro emailed counsel for TBG and asked for a list of the

 7   student-athletes represented by TBG. Counsel for TBG responded on June 7, 2023, identifying

 8   the following Partner Schools for whom TBG is the exclusive or preferred partner for their

 9   respective Group Licensing Programs:

10   Appalachian State          University of Louisville*    Oregon State University
     University
11   Arizona State              Marshall University          University of Pittsburgh
     University
12   University of Arkansas     University of Maryland       Purdue University
13   Auburn University          University of Miami*         Rutgers, The State University of New
                                                             Jersey (Rutgers University)
14   Baylor University          University of Michigan       Southern Methodist University
15   Boston College             Michigan State University    Syracuse University
16   Brigham Young            Middle Tennessee State         The University of Texas at Arlington
     University               University
17   Campbell University      Mississippi State              The University of Texas at Austin
                              University
18   University of Cincinnati University of Missouri         Texas Christian University*

19   University of Colorado     Murray State University      The University of Texas at El Paso
     Boulder
20   Colorado State             North Carolina Central       The University of Texas Permian Basin
     University                 University
21   University of              North Carolina State         The University of Texas at San Antonio
     Connecticut                University
22   University of Dayton       University of Nebraska-      Towson University
                                Lincoln
23   University of Florida      The University of North      Troy University
                                Carolina at Chapel Hill
24   Georgia Institute of       University of North Texas    The University of Utah
     Technology
25   Gonzaga University         Northwestern University      University of Virginia
26   University of Hawaii at Ohio University                University of Wyoming
     Manoa
27   University of Houston    The Ohio State University      Villanova University

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 1   Kansas State University Oklahoma State University Wake Forest University
 2   Liberty University         Old Dominion University       West Virginia University

 3   Louisiana Tech          The University of             William Marsh Rice University (Rice
     University              Mississippi (Ole Miss)        University)
 4   University of Louisiana Oral Roberts University
     at Lafayette
 5   *Schools for whom TBGs exclusivity rights are limited to the football program.

 6

 7           86.    Also in its June 7, 2023 response, TBG provided EA with the following explanation

 8   of how its Group Licensing rights are implicated by the use of TBGs Partner Schools and Student

 9   Athletes in the Game:

10                  Given the nature of the EA Sports College Football Game, we think
                    this list is sufficient to provide EA with a general understanding of
11                  TBGs representation. As we explained previously, we presume
                    that the Game will require the use of NIL from three or more football
12                  players from a given school, which necessarily implicates TBGs
                    Group Licensing Rights for its partner schools. TBG has entered
13                  into Student-Athlete Group Licensing Authorization & Assignment
                    Agreements with almost all of the football players from these
14                  schools, authorizing TBG to act as the student-athletes exclusive
                    agent with respect to their respective schools Group Licensing
15                  Program.

16
             87.    A true and accurate copy of TBGs June 7, 2023 email is attached hereto as Exhibit
17
     8.
18
             88.    To date, EA has not responded to TBGs June 7, 2023 email. Counsel for TBG
19
     followed up with Ms. Contro by email on June 12, 2023, requesting an opportunity to discuss
20
     TBGs rights and EAs plans, but EA has not responded.
21
             89.    However, notwithstanding TBGs communications, EA Sports has informed (and
22
     continues to inform) TBGs Partner Schools that Partner Schools negotiating and contracting
23
     directly with EA Sports, and Client Athletes contracting directly with EA (or an EA affiliate) will
24
     not interfere with TBGs exclusivity rights.
25
             90.    This assertion by EA is patently false.
26
             91.    EA cannot circumvent TBGs or its Partner Schools and Client Athletes
27
     contractual rights by entering into individual and direct contracts for participation in the Game.
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                                                    17
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 1   Indeed, TBG has individual and direct contracts with each of its Client Athletes. TBGs GLAs

 2   with its Client Athletes plainly assign to TBG the right to use and license its Client Athletes NIL

 3   in licensing programs such as EAs Game, where one Client Athletes NIL will be used in

 4   combination with two or more teammates and their schools IP.

 5              92.   Further, EA continues to push TBGs Partner Schools to opt-in to the Game by its

 6   arbitrary June 30 deadline or else they will be ineligible from participating.

 7              93.   Despite repeated notices that negotiating directly with Partner Schools or Client

 8   Athletes violates TBGs Collaboration Agreements, EA Sports continues to negotiate in direct,

 9   knowing, and intentional interference with TBGs contractual rights.

10              94.   EAs conduct and misrepresentations have disrupted TBGs contractual

11   relationships with its Partner Schools and Client Athletes.

12              95.   Indeed, certain of TBGs Partner Schools have already opted-in to the Game,

13   violating their exclusive Collaboration Agreements with TBG, while others have expressed

14   confusion as to how they should proceed when they are interested in participating in the Game and

15   offering that opportunity to their student-athletes, but do not want to run afoul of their contractual

16   obligations with TBG.

17                         EAs Compensation to Student-Athletes and Schools

18              96.   EAs announced return of the Game prompted significant media interest,

19   particularly since EA revealed it would use student-athletes NIL in connection with their

20   respective teams logos and IP and that EA would compensate student-athletes for their NIL.

21              97.   In the May 17, 2023 announcement, EA Sports reported that the participating

22   players will receive compensation for being placed in the game, and that details regarding how

23   much an athlete will receive and the structure of payments  are still being finalized.15

24              98.   That same day, EA reportedly told ESPN that the goal is to be as inclusive and

25   equitable as possible[,] while OneTeams website referenced that if the influence of individual

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27
     15
28        Id.
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 1   sales couldnt be figured out that revenue would be divided equally among athletes included in

 2   each licensing program.16

 3           99.      Since then, numerous articles have been published regarding the reported

 4   compensation EA is offering to student-athletes for their participation in the Game. Reportedly,

 5   EA plans to offer a flat, one-time payment of $500 to each player for the use of their NIL in the

 6   Game, and no payment for royalties on actual sales of the Game.17

 7           100.     TBG has also heard from its Partner Schools that EA is offering to pay participating

 8   schools some percentage of income received from the Game, with the total compensation pool

 9   available to schools being 10% of the Games revenue, with guaranteed payments ranging from

10   $10,400 to $104,900 depending on variables such as the football programs prominence, recent

11   national ranking, etc.

12           101.     EAs proposed compensation to players for participation in the Game is far below

13   market value.

14           102.     Indeed this reported amount is far less than EA paid players in settlement of the

15   seminal NIL case, O'Bannon v. Nat'l Collegiate Athletic Ass'n, 802 F.3d 1049, 1056 (9th Cir.

16   2015), where former University of California, Los Angeles basketball player, Ed OBannon, sued

17   EA, et al., after recognizing himself as a digital avatar in EAs NCAA Basketball 2009 video game.

18   OBannon joined with other former NCAA basketball and football players to form the class of

19   student-athletes, with whom EA eventually settled for a total of $60 million. Individual players

20   received varying amounts in the settlement, but reports indicate that players received on average

21   about $1,600 each after payment of expenses and legal fees.18

22

23
     16
24      Mike McDaniel, EA Sports Reaches Agreement to Have FBS Players in College Football Game,
     https://www.si.com/college/2023/05/17/ea-sports-reaches-agreement-real-fbs-players-college-football-game-nil
25   (May 17, 2023).
     17
        James Batchelor, College football players urged to boycott EA Sports game over low pay,
26   https://www.gamesindustry.biz/college-football-players-urged-to-boycott-ea-sports-game-over-low-pay (June 8,
     2023).
27   18
        Stephen Totilo, EA Sports reaches deal to pay college football athletes, https://www.axios.com/2023/05/18/ea-
28   sports-college-football-deal (May 18, 2023).
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 1           103.     As another example, EA Sports is reportedly paying some National Football

 2   League players $28,000 each to appear in EAs annual release of its Madden video game.19

 3           104.     Not only is the reported $500 per player insufficient to compensate the Client

 4   Athletes for the use of their NIL in the Game, but TBG recently learned that the potential cost to

 5   players is even higher. EA is reportedly seeking exclusive rights to use participating schools

 6   trademarks and related indicia for any current or future simulation game play within college

 7   footballnot just the Gameand non-exclusive rights for non-simulation games. Thus, not only

 8   would players compensation for the use of their NIL in the Game be capped at $500, but they

 9   would be precluded from earning additional compensation off of their NIL in other simulation

10   games such as arcade and video game opportunities.

11           105.     This is exactly why it is critical that these student-athletes have the benefit of TBGs

12   representation in negotiating with corporate giants like EA.

13          The Client Athletes and TBG will be Irreparably Harmed if EA is not Enjoined

14           106.     EA has made clear its intent to violate not only TBGs contractual relationships,

15   but also the Client Athletes right to contract for fair representation in negotiating Group Licensing

16   sponsorships and licensing deals.

17           107.     TBGs Client Athletes have made clear their intent and desire to be represented by

18   TBG in sponsorship and licensing opportunities involving Group Licensing Programs, specifically

19   those involving video games.

20           108.     TBGs GLAs state that [t]he focus of the Collegiate Group Licensing Programs

21   will be co-branded opportunities involving groups of Athletes NIL along with [the Partner

22   Schools] IP[,] and that the Client Athletes shall receive 70% (Seventy Percent) of the royalties

23   from third-party licensees in the video game [category.]

24           109.     Unlike professional athletes, collegiate student-athletes do not yet have an

25   organized union to represent them in Group Licensing Programs.

26
     19
27      Franca Quarneti, EA Sports College Football Return Marred by Potential Boycott Over Poor Compensation,
     https://www.benzinga.com/general/gaming/23/06/32786383/ea-sports-college-football-return-marred-by-potential-
28   boycott-over-poor-compensation (June 8, 2023).
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 1           110.    For instance, players in the National Football League (NFL) are represented by

 2   the NFL Players Association (NFLPA), and the NFLPA negotiates with EA for the licensing of

 3   players NIL rights to be included in the annual Madden video game.

 4           111.    TBGs Client Athletes do not have a union, but they are not without representation.

 5   They have TBG, whom they engaged to leverage its industry expertise and substantial market

 6   share of FBS Partner Schools and Client Athletes to negotiate fair compensation for the Client-

 7   Athletes participation in Group Licensing Programs such as EAs Game.

 8           112.    TBG is informed and understands that EA intends to include mostif not allof

 9   its Partner Schools and Client Athletes in the Game. This, of course, makes sense given that TBGs

10   Partner Schools include 35 of the 65 teams in Power Five conferences 20, six of the 14 programs

11   appearing in the College Football Playoffs since 2014, nine teams ranked in the Associated Press

12   Top 25 at the end of the 2022-2023 college football season, and programs accounting for seven of

13   the 16 Bowl Championship Series (BCS) championships during the 1998-2013 BCS era.

14           113.    Further, at least 54 of TBGs Partner Schools were featured in past iterations of the

15   Game before it was discontinued.

16           114.    Because of these relationships, TBG is well-positioned to influence the amount of

17   compensation to be paid by EA to not only its Client Athletes, but to all other student-athletes who

18   may wish to participate in the Game.

19           115.    EAs attempt to exclude TBG from discussions regarding the use of Client

20   Athletes NIL in the Game amounts to anticompetitive conduct that is contrary to the public

21   interest and public policy of California.

22           116.    As collegiate NIL rights have evolved over the past several years, California has

23   particularly championed the rights of student-athletes to be fairly compensated for the use of their

24   NIL. California was the first state in the country to create a legal right for college athletes to be

25   compensated for the commercial use of their NIL. Californias Fair Pay to Play Act was

26   groundbreaking legislation in the area of student-athletes NIL rights, and importantly authorizes

27   20
       The Power Five conferences include the Atlantic Coast Conference, Big Ten Conference, Big 12 Conference,
28   Pac-12 Conference, and Southeastern Conference.
                                                        21
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 1   college athletes to hire agents and other representatives to assist them in negotiating and securing

 2   commercial opportunities.21

 3            117.   EA seeks to reverse that evolution, denying not only TBGs Client Athletes the

 4   right to their desired representation, but also denying all participating student-athletes fair

 5   compensation for the use of their NIL in the Game.

 6            118.   Again, EAs conduct goes beyond its failure to offer fair compensation for the

 7   Client Athletes NIL in this Game, as EA is reportedly seeking to obtain exclusivity rights for the

 8   use of Client Athletes NIL in other simulation video games, compounding the unfairness of EAs

 9   offer.

10            119.   EAs interference with TBGs exclusive Collaboration Agreements has caused and

11   will continue to cause TBG immeasurable and irreparable harm.

12            120.   EAs false and deceptive assurances to TBGs Partner Schools that contracting

13   directly with EA will not violate the Collaboration Agreements with TBG, as well as EAs artificial

14   deadline for the schools to opt-in to the Game by June 30, 2023 places TBGs Partner Schools in

15   the unenviable position of either breaching their contracts with TBG or potentially losing the

16   opportunity for themselves and their athletes to participate in the Game.

17            121.   Similarly, EAs tactics are misleading and deceptive to TBGs Client Athletes, the

18   vast majority of who are not represented by attorneys or players agents and who may unwittingly

19   opt-in to EAs game, not knowing that they are breaching their GLAs with TBG and that they are

20   also likely giving up other NIL sponsorship and licensing opportunities.

21            122.   EAs tactics will also cause irreparable harm to TBG's Client Athletes, and to every

22   student-athlete who opts-in to their scheme for unfair compensation, because they are being

23   deprived of the opportunity to have their own representative negotiate on their behalves for fair

24   compensation for the use of their NIL. That is the fundamental purpose of TBGs Collaboration

25   Agreements, and that is what is being circumvented by EA's program and its misleading tactics.

26
     21
27      See Cal. Educ. Code § 67456; Michael McCann, Whats Next After California Signs Game Changer Fair Pay to
     Play Act into Law?, https://www.si.com/college/2019/09/30/fair-pay-to-play-act-law-ncaa-california-pac-12
28   (September 30, 2019).
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 1           123.    TBG's own financial damage is also likely impossible to calculate, leading further

 2   to its irreparable harm.      Pursuant to the GLAs and Collaboration Agreements, TBGs

 3   compensation is based on a percentage of the revenue that it is able to obtain for its Client Athletes

 4   for the use of the NIL in Group Licensing arrangements.

 5           124.    If given the opportunity to represent its Client Athletes in fair negotiations with EA

 6   and in compliance with its contractual rights and its Partner Schools and Client Athlete;'

 7   contractual obligations, TBG is confident that it would successfully obtain fair compensation to

 8   for Client Athletes (and ultimately to every student athlete that opts in to EA's new Game), even

 9   after subtracting TBG's commission for its representation. Absent the opportunity to do so,

10   however, it is exceedingly difficult to calculate TBG's damagesor the damages suffered by

11   student athletes themselves by opting in to EA's unfair compensation scheme.

12                                    FIRST CLAIM FOR RELIEF
                                   (Tortious Interference with Contract)
13                                    (By TBG Against Defendants)
14           125.    TBG repeats and realleges the allegations set forth above and hereafter as if fully
15   set forth herein.
16           126.    TBG has valid and binding Collaboration Agreements with 65 Partner Schools and
17   GLAs with 3,725 Client Athletes.
18           127.    EA Sports is aware of TBGs Collaboration Agreements and GLAs, both through
19   notices from TBG directly as well as through correspondence with some of TBGs Partner Schools.
20           128.    EA Sports is in possession of certain of TBGs Collaboration Agreements and is
21   informed of every Partner School with whom TBG is the exclusive or preferred partner for the
22   schools Group Licensing Program.
23           129.    Specifically, EA Sports is aware that the use of TBGs Client Athletes NIL in the
24   Game implicates TBGs exclusive Group Licensing Rights with its Client Athletes and Partner
25   Schools and that it is a violation of TBGs contractual rights for EA to facilitate the use of the
26   Client Athletes NIL or the Partner Schools IP without TBGs involvement or consent.
27

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 1            130.   TBG does not consent to any agreement between EA (or any other third-party) and

 2   its Partner Schools and Client Athletes for the use of their respective IP and NIL in the Game.

 3            131.   By requiring TBGs Partner Schools and Client Athletes to negotiate directly with

 4   EA or an EA affiliate for their participation in the Game, EA is preventing TBG and its Partner

 5   Schools and Client Athletes from performing their contractual obligations under the Collaboration

 6   Agreements and GLAs.

 7            132.   Because of EAs interference and direct communications with TBGs Partner

 8   Schools, certain of the Partner Schools have already either contracted directly with EA or agreed

 9   to contract directly with EA for the use of their IP and their participation in the Game, in direct

10   violation of their contractual obligations to TBG.

11            133.   EA ultimately intends to engage mostif not allof TBGs Partner Schools and

12   Client Athletes to participate in the Game.

13            134.   EA Sports intended to disrupt the performance of TBG, its Partner Schools, and

14   Client Athletes of their contractual obligations under the respective Collaboration Agreements and

15   GLAs. Further, EA Sports knew the disruption of the performance by the parties of their

16   obligations under the respective Collaboration Agreements and GLAs was substantially certain to

17   occur.

18            135.   As a result of EAs interference with TBGs contractual relationships with its

19   Partner Schools and Client Athletes, TBG has been harmed by the deprivation of its contractual

20   right to represent its Client Athletes in negotiations with EA for fair compensation for the use of

21   the Client Athletes NIL in the Game.

22            136.   Also as a result of EAs interference with TBGs contractual relationships with its

23   Partner Schools and Client Athletes, TBG has suffered and will continue to suffer damages

24   resulting from lost royalties owed to TBG under the GLAs, in an amount to be determined at trial.

25   Disgorgement is also appropriate.

26            137.   EA Sports conduct was a substantial factor in causing TBGs harm.

27            138.   Further, preliminary and permanent injunctive relief is appropriate to restrain EA

28   Sports from engaging in interference.
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 1           139.     Because EA Sports has acted with oppression, fraud or malice, punitive damages

 2   are appropriate to punish EA Sports and make an example of EA Sports.

 3                                   SECOND CLAIM FOR RELIEF
                          (Violation of Right of Publicity; CA. Civ. Code § 3344)
 4                                     (By TBG Against Defendants)
 5           140.     TBG repeats and realleges the allegations set forth above and hereafter as if fully
 6   set forth herein.
 7           141.     Pursuant to the express terms of the GLAs between TBG and its Client Athletes,
 8   each Client Athlete assigned to TBG the right to use their NIL in Collegiate Group Licensing
 9   Programs.
10           142.     Accordingly, TBG owns the right to use the Client Athletes NIL in Collegiate
11   Group Licensing Programs, and no third-party can use the Client Athletes NIL in Group Licensing
12   deals without TBGs authorization and consent.
13           143.     In its public reports to the media and private communications with TBGs Partner
14   Schools, EA communicated a clear intent to use the NIL of mostif not allof TBGs Client
15   Athletes in its Game.
16           144.     EA has knowingly engaged certain of TBGs Partner Schools to participate in the
17   Game and has announced its intention to include the Partner Schools brand, logos, and other IP
18   in the Game.
19           145.     EA has likewise announced its intention to appropriate and use the Client Athletes
20   NIL for its own commercial gain, in knowing violation of TBGs Group Licensing Rights, without
21   TBGs consent, and in knowing violation of Cal. Civ. Code § 3344.
22           146.     EAs knowing appropriation of the Client Athletes NIL is for the purpose of
23   soliciting sales of EAs NCAA College Football video game.
24           147.     Based on the past performance of EAs NCAA College Football game and reported
25   projections, EA expects to sell millions of units of its Game, generating hundreds of millions of
26   dollars in revenue from the sale of the Game, featuring TBGs Partner Schools IP and Client
27   Athletes NIL.
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 1           148.     EAs Game will include the NIL of at least three student-athletes from the Partner

 2   Schools represented in the Game, and thus, EAs use of the Client Athletes NIL in the Game

 3   constitutes Group Licensing, as defined by TBGs Collaboration Agreements and GLAs, for which

 4   TBG owns the exclusive rights.

 5           149.     TBG does not consent to EAs use of its Client Athletes NIL in the Game.

 6           150.     As a direct and proximate result of EAs violation of TBGs right of publicity, TBG

 7   has suffered and will continue to suffer damages resulting from lost royalties owed to TBG under

 8   the GLAs, in an amount to be determined at trial. Disgorgement is also appropriate.

 9           151.     As a further direct and proximate result of the wrongful conduct set forth above,

10   TBG has been injured by the loss of the right to control the commercial exploitation of its Client

11   Athletes NIL.

12           152.     Further, preliminary and permanent injunctive relief is appropriate to restrain EA

13   Sports from engaging in interference and violating TBGs right of publicity.

14           153.     Because EA Sports has acted with oppression, fraud or malice, punitive damages

15   are appropriate to punish EA Sports and make an example of EA Sports.

16                               THIRD CLAIM FOR RELIEF
            (Violation of Common Law Right of Publicity / Misappropriation of Likeness)
17                                (By TBG Against Defendants)
18           154.     TBG repeats and realleges the allegations set forth above and hereafter as if fully
19   set forth herein.
20           155.     Pursuant to the express terms of the GLAs between TBG and its Client Athletes,
21   each Client Athlete assigned to TBG the right to use their NIL in Collegiate Group Licensing
22   Programs.
23           156.     Accordingly, TBG owns the right to use the Client Athletes NIL in Collegiate
24   Group Licensing Programs, and no third-party can use the Client Athletes NIL in Group Licensing
25   deals without TBGs authorization and consent.
26

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                                                     26
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 1           157.     In its public reports to the media and private communications with TBGs Partner

 2   Schools, EA communicated a clear intent to use the NIL of mostif not allof TBGs Client

 3   Athletes in its Game.

 4           158.     EA has knowingly engaged certain of TBGs Partner Schools to participate in the

 5   Game and has announced its intention to include the Partner Schools brand, logos, and other IP

 6   in the Game.

 7           159.     EA has likewise announced its intention to appropriate and use the Client Athletes

 8   NIL for its own commercial gain, in violation of TBGs Group Licensing Rights, without TBGs

 9   consent, and in knowing violation of its right of publicity.

10           160.     EAs knowing appropriation of the Client Athletes NIL is for its own commercial

11   gain and for the purpose of soliciting sales of EAs NCAA College Football video game.

12           161.     Based on the past performance of EAs NCAA College Football game and reported

13   projections, EA expects to sell millions of units of its Game, generating hundreds of millions of

14   dollars in revenue from the sale of the Game, featuring TBGs Partner Schools IP and Client

15   Athletes NIL.

16           162.     EAs Game will include the NIL of at least three student-athletes from the Partner

17   Schools represented in the Game, and thus, EAs use of the Client Athletes NIL in the Game

18   constitutes Group Licensing, as defined by TBGs Collaboration Agreements and GLAs, for which

19   TBG owns the exclusive rights.

20           163.     TBG does not consent to EAs use of its Client Athletes NIL in the Game.

21           164.     As a direct and proximate result of EAs violation of TBGs right of publicity, TBG

22   has suffered and will continue to suffer damages resulting from lost royalties owed to TBG under

23   the GLAs, in an amount to be determined at trial. Disgorgement is also appropriate.

24           165.     As a further direct and proximate result of the wrongful conduct set forth above,

25   TBG has been injured by the loss of the right to control the commercial exploitation of its Client

26   Athletes NIL.

27           166.     Further, preliminary and permanent injunctive relief is appropriate to restrain EA

28   Sports from engaging in interference and violating TBGs right of publicity.
                                                     27
                                            VERIFIED COMPLAINT
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 1           167.    Because EA Sports has acted with oppression, fraud or malice, punitive damages

 2   are appropriate to punish EA Sports and make an example of EA Sports.

 3                                   FOURTH CLAIM FOR RELIEF
                  (Violation of California Business and Professions Code § 17200, et seq.)
 4                                     (By TBG Against Defendants)
 5           168.    TBG repeats and realleges the allegations set forth above and hereafter as if fully
 6   set forth herein.
 7           169.    California Business and Professions Code § 17200, et seq. (the Unfair
 8   Competition Law or UCL) prohibits unlawful, unfair and fraudulent business acts and
 9   practices.
10           170.    By negotiating directly with TBGs Partner Schoolsin direct violation of TBGs
11   exclusivity agreementsEA Sports is tortiously and unlawfully interfering with TBGs
12   contractual and business relationships and violating TBGs NIL rights. Further, EA Sports is
13   fraudulently misrepresenting the scope and nature of TBGs rights in communications with
14   athletes, schools, and the public.
15           171.    EA Sports interference is unlawful, fraudulent, and/or unfair competition in
16   violation of the UCL.
17           172.    As a direct and proximate result of EA Sports unfair, fraudulent and illegal
18   business practices, TBG is suffering and will continue to suffer financial losses if and when EA
19   Sports reaches any agreements with TBGs Partner Schools, without TBGs involvement and in
20   direct violation of EA Sports exclusivity agreements.
21           173.    Pursuant to the UCL, TBG is also entitled to injunctive relief to protect athletes,
22   schools, and the public from EAs unfair, illegal, and fraudulent practices.
23                                  FIFTH CLAIM FOR RELIEF
                                          (Declaratory Relief)
24                                   (By TBG against Defendants)

25           174.    TBG repeats and realleges the allegations set forth above and hereafter as if fully

26   set forth herein.

27           175.    TBG owns the exclusive right to negotiate under the Group Licensing Rights with

28   its Client Athletes and Partner Schools.
                                                    28
                                           VERIFIED COMPLAINT
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 1           176.      To the extent EA Sports wishes to include TBGs Partner Schools and Sponsored

 2   Students in the Game, TBGs Collaboration Agreements and GLAs require that EA recognize

 3   TBG as its clients exclusive agent.

 4           177.      By negotiating directly with TBGs Partner Schools, EA Sports is in direct violation

 5   of TBGs exclusivity agreements.

 6           178.      As a result of the foregoing, there is an actual and present controversy between

 7   TBG and EA Sports.

 8           179.      Accordingly, TBG desires a judicial declaration that TBG has exclusive rights to

 9   negotiate under its Collaboration Agreements with Partner Schools and GLAs with Client Athletes

10   and to provide EA Sports what it needs to lawfully make the Game.

11                                            PRAYER FOR RELIEF

12   WHEREFORE, Plaintiff TBG prays that the Court enter Judgment as follows:

13       1. That EA be preliminarily and permanently enjoined from the following:

14                  a. Directly or indirectly soliciting TBGs Partner Schools or Client Athletes for their

15                     participation in the Game;

16                  b. Directly or indirectly from interfering with TBGs contractual rights granted to

17                     TBG under its Collaboration Agreements with Partner Schools and GLAs with

18                     Client Athletes; and

19                  c. Directly or indirectly using, appropriating, or incorporating the NIL of TBGs

20                     Client Athletes in the Game without the express authorization and consent of

21                     TBG.

22       2. That TBG is entitled to recover damages in an amount in excess of $25,000, to be

23           determined at trial;

24       3. That TBG is entitled to recover punitive damages pursuant to California Civil Code §

25           3294;

26       4. That TBG recover costs and attorneys fees;

27

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                                                        29
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 1       5. For a judicial declaration that TBG has exclusive rights to negotiate under its

 2           Collaboration Agreements with Partner Schools and GLAs with Client Athletes and to

 3           provide EA Sports what it needs to lawfully make the Game; and

 4       6. For such other relief as the Court deems just and proper.

 5

 6

 7                                                    KATTEN MUCHIN ROSENMAN LLP
 8

 9                                                    By: /s/ Christopher D. Beatty
10
                                                          Christopher D. Beatty (SBN 266466)
11                                                        chris.beatty@katten.com
                                                          Ashley T. Brines (SBN 322988)
12                                                        ashley.brines@katten.com
                                                          2029 Century Park East, Suite 2600
13                                                        Los Angeles, CA 90067
                                                          Telephone: 310.788.4400
14                                                        Facsimile: 310.788.4471
15                                                        Richard L. Farley (pro hac vice forthcoming)
                                                          Richard.farley@katten.com
16                                                        Lindsey L. Smith (pro hac vice forthcoming)
                                                          lindsey.smith@katten.com
17                                                        Kelsey R. Panizzolo (pro hac vice
                                                          forthcoming)
18                                                        Kelsey.panizzolo@katten.com
                                                          500 S. Tryon Street, Suite 2900
19                                                        Charlotte, NC 28202-4213
                                                          Telephone: 704.344.3178
20                                                        Facsimile: 704.444.2050
21
                                                           ATTORNEYS FOR THE BRANDR GROUP,
22
                                                           LLC
23

24

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                                                    30
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 1
                                            JURY DEMAND
 2

 3           Plaintiff TBG hereby demands a trial by jury.
 4
                                                     KATTEN MUCHIN ROSENMAN LLP
 5

 6
                                                     By: /s/ Christopher D. Beatty
 7

 8                                                       Christopher D. Beatty (SBN 266466)
                                                         chris.beatty@katten.com
 9                                                       Ashley T. Brines (SBN 322988)
                                                         ashley.brines@katten.com
10                                                       2029 Century Park East, Suite 2600
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                                                         Richard L. Farley (pro hac vice forthcoming)
13                                                       Richard.farley@katten.com
                                                         Lindsey L. Smith (pro hac vice forthcoming)
14                                                       lindsey.smith@katten.com
                                                         Kelsey R. Panizzolo (pro hac vice
15                                                       forthcoming)
                                                         Kelsey.panizzolo@katten.com
16                                                       500 S. Tryon Street, Suite 2900
                                                         Charlotte, NC 28202-4213
17                                                       Telephone: 704.344.3178
                                                         Facsimile: 704.444.2050
18

19                                                           ATTORNEYS FOR THE BRANDR GROUP,
                                                             LLC
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                                                   31
                                          VERIFIED COMPLAINT
     157725142v12
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 1                                           VERIFICATION

 2
             I, the undersigned, certify and declare that I have read the foregoing VERIFIED
 3
     COMPLAINT and know its contents. The statement following the box checked is applicable.
 4
             I am the President and Founder of The BrandR Group, LLC, a North Carolina limited
 5
     liability company, a party to this action, and am authorized to make this verification for and on its
 6
     behalf, and I make this verification for that reason. I am informed and believe and on that ground
 7
     allege that the matters stated in the document described above are true.
 8
             I declare under penalty of perjury under the laws of the State of California that the
 9
     foregoing is true and correct and that this declaration was executed this 15th day of June, 2023 in
10
     Ponte Vedra Beach, Florida.
11

12                                                         ________________________________
                                                                 Wesley Haynes
13                                                               President and Founder
14                                                               The BrandR Group, LLC

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                                            VERIFIED COMPLAINT
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                 EXHIBIT 1
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     CURRENT STUDENT-ATHLETE GROUP LICENSING AUTHORIZATION & ASSIGNMENT (Agreement)

1.      XXXX University (XX), through its Athletic Department, desires to make available a third-party,
voluntary Group Licensing Program to its current student-athletes (Athletes) in light of recent changes in
federal and state law and NCAA rules governing an Athletes name, image and likeness (NIL). The Group
Licensing Program, as defined below, is intended to celebrate the connection between XX and XX Athletes and
also to provide both an opportunity and a mechanism for those Athletes to benefit from licensing their NIL in
accordance with NCAA rules and State law and in conjunction with the Universitys official trademarks and logos.
The Brandr Group, LLC (TBG) will work on behalf of current XX Athletes to create and manage this Collegiate
Group Licensing Program.

2.      As background information regarding TBG, the company currently works on behalf of many former
college athletes to develop business combining group player rights with colleges intellectual property (IP),
and TBG also represents groups of players through the NFLPA, NBPA and MLBPA. In addition, TBG has created
a collegiate group rights program for retired NBA players and has done projects for the US Womens National
Soccer Team, helping them launch more comprehensive college-based IP programs.

3.      The undersigned, an Athlete enrolled at XX, hereby grants and assigns to TBG and its licensing affiliates
during the term only of this Agreement, the worldwide right to use and to grant to licensees and sponsors the
right to use all or any combination of the undersigneds name, nickname, initials, autograph/signature, facsimile,
voice, caricature, photograph, portrait, picture, image, likeness, jersey number, statistics, data, biographical
information or any other identifiable feature (collectively known as Athlete Attributes) in Collegiate Group
Licensing Programs of any kind. Collegiate Group Licensing Programs are defined as those licensing or
sponsorship programs in which a collegiate licensee or collegiate sponsor uses the Athlete Attributes of three
(3) or more current XX Athletes from one sport or six (6) or more from multiple sports, in combination with
University trademarks and logos.

4.      Please note that this Agreement does NOT limit an Athletes right to grant the use of his/her individual
Athlete Attributes or individual NIL for publicity, advertising, or other commercial purposes, except that such
individual grants will not preclude the undersigned also from being covered by the Collegiate Group Licensing
Programs granted by TBG. This Agreement also does not limit the Athletes right to join with other Athletes to
grant the group use of their NIL for publicity, advertising or other commercial purposes IF any such other group
NIL grant does not involve any use or co-branding of any kind of XXs own IP or property (such as trademarks,
logos, jerseys, names, nicknames, etc.)

5.      The focus of the Collegiate Group Licensing Programs will be co-branded licensing opportunities
involving groups of Athletes NIL along with XXs IP. Royalties for such opportunities will be allocated as
follows: for Collegiate Group Licensing Programs the Athletes shall receive 80% (Eighty Percent) of the
royalties from third-party licensees and sponsors for use of the group NIL or Athlete Attributes in connection
with this Collegiate Group Licensing Program, except in the categories of video games, trading cards and
Fanatics where Athletes shall receive 70% (Seventy Percent) to accommodate additional costs. TBG shall
retain 20% (Twenty Percent) and 30% (Thirty Percent) of such royalties respectively. Revenues derived from
the programs shall be apportioned and distributed on a pro rata basis based upon the usage of each individual
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Athlete on licensed products or promotions. If it is not possible to identify individual usage, then revenue will
be divided equally among the Athletes included in each licensing program. All royalty payments, together
with a detailed report to XX, will be made within thirty (30) days of the last day of each calendar quarter. Any
royalties paid by licensees after the close of royalty reporting for a particular quarter will be paid out to the
Athletes in the following quarter's payment disbursements.


6.      In consideration for this authorization and assignment of such rights set forth herein, TBG agrees to (A)
use its best efforts to maximize revenues from Collegiate Group Licensing Programs for XX Athletes; (B) act in
good faith and in the best interests of the XX Athletes; and (C) abide by applicable federal and state law, along
with NCAA and XX rules and policies, including but not limited to the NAME OF STATE LAW, the NCAAs Interim
NIL Policy, and XXs Student Athlete NIL Policy. TBG makes no representation regarding individual or other group
licensing programs or matters other than those expressed herein. This Agreement shall be construed under
STATE law without reference to its conflict of laws principles.

7.      The undersigned Athlete hereby authorizes TBG to receive payment of the assigned monies directly from
any licensees or sponsors on behalf of the Athlete prior to making the earned royalty percentage payments to
the Athlete as noted herein above. Barring a breach by TBG, this Agreement shall expire automatically one year
after the conclusion of the Athletes collegiate athletic eligibility. No new Collegiate Group Licensing Programs
will be introduced after the end of the Athletes collegiate athletic eligibility and such ongoing use of school IP
is subject to XXs consent. The undersigned may opt out of this Agreement on the anniversary of date of its
execution, providing written notice of termination has been made to TBG at <grouprights@tbgusa.com> at least
15 days prior to that anniversary date. Use of Athlete Attributes in Collegiate Group Licensing Programs
executed before a player provides a notice of termination will be allowed to continue until the expiration of
those specific Programs.

8. I UNDERSTAND THAT SIGNING THIS AGREEMENT AND PARTICIPATING IN THIS GROUP LICENSING
PROGRAM ARE PURELY VOLUNTARY.

9. IF I CHOOSE TO SIGN THIS AGREEMENT, THEN DURING THE TERM OF THIS AGREEMENT TBG SHALL
REPRESENT MY GROUP NIL RIGHTS ONLY IN ANY CO-BRANDED LICENSING THAT ALSO INCLUDES THE
UNIVERSITYS IP.

10. I AGREE THAT I AM FREE TO CONSULT WITH OR HIRE MY OWN PERSONAL AGENT OR ATTORNEY
REGARDLESS OF WHETHER I SIGN THIS AGREEMENT, AND THAT I MAY SEEK ADDITIONAL INFORMATION AT
ANY TIME FROM MY OWN AGENT OR ATTORNEY AND FROM TBG.

11. I RECOGNIZE THAT THIS AGREEMENT DOES NOT RESTRICT OR PREVENT ANY OF MY EXISTING OR FUTURE,
INDIVIDUAL NIL AGREEMENTS.

12. I ACKNOWLEDGE THAT THIS AGREEMENT DOES NOT RESTRICT ANY OF MY EXISTING GROUP NIL
AGREEMENTS NOR ANY SUCH FUTURE NIL AGREEMENTS THAT DO NOT ALSO INCLUDE THE UNIVERSITYS CO-
BRANDED IP.


                                                        2
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13. I UNDERSTAND THAT A THIRD PARTY, TBG, IS CREATING THIS OPPORTUNITY AND MECHANISM FOR ME
TO FURTHER EXERCISE MY NIL RIGHTS, AND THAT THE UNIVERSITY IS NOT PAYING COMPENSATION NOR
CAUSING COMPENSATION TO BE PAID TO ME.

14. I AGREE THAT MY NIL LICENSING SHALL BE COMMENSURATE WITH THE VALUE OF MY NIL AND SHALL BE
PAID BY THIRD PARTY LICENSEES THROUGH TBG TO ME.

15. I CONFIRM THAT NO COMPENSATION SHALL BE PAID OR ACCEPTED IN VIOLATION OF THE LAW OR NCAA
OR UNIVERSITY RULES, AND THAT IN PARTICULAR, NO COMPENSATION SHALL BE PAID TO ME AS A REWARD
OR INDUCEMENT FOR ANY ATHLETIC PARTICIPATION OR PERFORMANCE OR FOR MY ENROLLMENT OR
CONTINUED ENROLLMENT AT THE UNIVERSITY.



Dated: _______________________
       (Effective Date)
                                            ________________________________________
  THE BRANDR GROUP, LLC:                    Athletes Signature

  ____________________________              ________________________________________
  Signature                                 First Name

  Len Stachitas                             ________________________________________
  Name                                      Last Name

  Chief Administrative Officer              Email Address: ____________________________
  Title
                                            Phone: _________________

                                            Sport: ____________________

                                            Position: ____________________

                                            Uniform #: _____

                                            Are you an international student here on a visa?_____




                                               3
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                  EXHIBIT 4
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                                                                                                             550 S. Tryon Street
                                                                                                             Suite 2900
                                                                                                             Charlotte, NC 28202-4213
                                                                                                             +1.704.444.2000 tel
                                                                                                             katten.com..


                                                                                                             LINDSEY L. SMITH
                                                                                                             lindsey.smith@katten.com
                                                                                                             +1.704.344.3178 direct


May 18, 2023

Via Certified Mail and Email
Mr. Jake Schatz
Chief Legal Officer
Electronic Arts Inc.
209 Redwood Shores Parkway
Redwood City, CA 94065
jschatz@ea.com

Re:      LEGAL HOLD NOTICE  Retaining and Preserving All Documents and
         Electronically Stored Information about EA Sports College Football Game
         Agreement and Negotiations with OneTeam Partners

Dear Mr. Schatz:

We represent The BrandR Group (TBG) and are writing regarding Electronic Arts Inc. (EA
Sports) and its purported agreement with OneTeam Partners (OTP). We understand that EA
Sports issued a May 17 statement indicating, among other things, that, Were excited to have an
agreement in place with OneTeam Partners that will enable us to include the names and likenesses
of eligible collegiate football athletes at NCAA Division 1 Football Subdivision schools who opt-
in to being featured in EA Sports College Football.

As you know, TBG is involved in ongoing litigation with OTP, wherein TBG has asserted claims
based, in part, on disputes involving OTPs college-related negotiations and any contracts with EA
Sports. While we hope that EA Sports can remain a non-party to that litigation, you nevertheless
are hereby notified of your obligation to identify and preserve all documents1 that might possibly
be subject to discovery as part of the ongoing lawsuit between TBG and OTP. Such materials
include but are not limited to documents relating to the agreement with OTP noted in your
statement and all the negotiations leading to that agreement.

By our estimate, TBG represents the group rights of about 50-60% of the collegiate student athletes
eligible to participate in the EA Sports College Football Game. Most of those student athlete

1
 For purposes of this Legal Hold Notice, the term documents is defined to include all emails, documents,
communications, information, reports, or records, whether in paper or electronic form, in your possession
or control. Further, this Legal Hold Notice relates to all documents within the possession or control of EA
Sports or its employees, including documents stored on your electronic business network, computer
desktops, in your business or home office space, or on individual employees personal communication
devices.

                                                KATTEN MUCHIN ROSENMAN LLP
                           CENTURY CITY      CHARLOTTE           CHICAGO         DALLAS        LOS ANGELES
                             NEW YORK       ORANGE COUNTY             SHANGHAI          WASHINGTON, DC
                                  A limited liability partnership including professional corporations
                                          LONDON: KATTEN MUCHIN ROSENMAN UK LLP
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Page 2



contracts grant TBG exclusivity with respect to such group rights. You are, of course, aware of
such exclusivity since TBG has provided EA Sports with multiple examples of such contracts in
connection with its past business dealings. Therefore, we request that you immediately provide us
with the details of the compensation to be paid to the student athletes represented by TBG, as well
as a copy of the agreement in place between EA Sports and OTP as referenced above. From the
press reports and statements we have seen so far, the proposed compensation to the student athletes
appears to fall far below fair market value. The team at TBG sincerely hopes that such early press
reporting is inaccurate, as TBG intends to protect and advance the rights and interests of the student
athletes under contract with TBG, as well as the group rights granted by those student athletes to
TBG.

In addition, we understand that EA Sports also has been provided with samples of TBGs
Collaboration Agreements with about 70-80 Division 1 universities. In many of those agreements,
the colleges granted TBG exclusivity or preferred contractor status to manage those schools NIL
programs, including the schools IP when paired with student athletes NIL in group rights
programs. We intend to enforce all of TBGs contractual rights in this regard as well. We hope
to receive EA Sports full cooperation as we do so.

Finally, many of TBGs partner schools already have expressed concerns that the arrangement and
compensation planned by EA Sports and OTP will primarily serve the interests of those two
entities. At least some of those colleges are also concerned that the compensation that the schools
will receive will be unfair and unreasonable in light of the below market value to be paid to the
student athletes.

As we continue to look into the announced agreement between EA Sports and OTP, we look
forward to speaking with you about the impact to TBGs existing contractual rights and
relationships. In particular, we look forward to hearing from you as to how EA Sports intends to
implement its agreement with OTP without violating TBGs exclusivity rights with respect to those
student athletes and universities referenced above. Please contact me at your earliest convenience
to discuss this point.

In addition, we appreciate your cooperation in preserving the documents identified above, and we
ask that you provide us with a copy of your contract with OTP, including all exhibits, addendums,
and amendments thereto. Kindly provide this to me at your earliest convenience and by no later
than May 25, 2023.

We look forward to speaking with you soon.
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May 18, 2023
Page 3



Sincerely,




Lindsey L. Smith


Cc:    Mr. Paul Cairns, pcairns@ea.com, via email

       Richard Farley, richard.farley@katten.com, via email
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From: Gregory, Josh <jogregory@ea.com>
Sent: Wednesday, May 24, 2023 1:31 PM
To:                                                Mollema, Deanne <dmollema@ea.com>
Subject: RE: EA Sports News



Non-      Email


Hi        ,



Thanks for reaching out about this! The Compass NIL App will be used, but the college football video
game license is a standalone offer, is not part of OneTeam’s group license, and will not be bundled
with anything else.



One Team will be facilitating this offer on behalf of EA Sports through the Compass NIL App.
However, the individual license agreement will be directly with EA Sports, not as a part of OneTeam’s
group license. By opting into the EA Sports agreement, your student-athlete individually grants NIL
rights to EA Sports for our college football video game and not any other OneTeam opportunity.



Thanks,



Josh




From:                                    >
Sent: Tuesday, May 23, 2023 3:02 PM
To: Mollema, Deanne <dmollema@ea.com>; Gregory, Josh <jogregory@ea.com>
Subject: FW: EA Sports News



Deanne and Josh,



It might be too early to have answers to the questions below but wanted to forward this along from
my boss.

I think his concern is if our student athletes opt in to one-team, they will automatically be opted in to
deals via Learfield which could conflict with our current corporate sponsors.
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We are currently a BrandR exclusive school.

Let me know if you have any feedback?



Thank you,




From:
Sent: Monday, May 22, 2023 10:56 AM
To:
Cc:
Subject: EA Sports News



      ,

Can you please reach out to EA Sports and ask if players will be able to opt in only for the EA Sports
offer through Compass or if opting in through One Team/Compass App will opt players in for all One
Team offers? Some student athletes already have deals in certain categories, and we need to
educate them on how this upcoming EA opt in with effect those agreements.

Thanks,
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                  EXHIBIT 6
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From:               Contro, Betsy
To:                 Smith, Lindsey L.
Subject:            Correspondence from EA re the BrandR Group
Date:               Tuesday, May 30, 2023 6:23:34 PM
Attachments:        image001.png


EXTERNAL EMAIL – EXERCISE CAUTION
Dear Ms. Smith,
I am writing on behalf of Electronic Arts Inc. (“EA”). We received your letter to EA dated May 18,
2023, on behalf of your client, The BrandR Group (“BrandR”), regarding the EA Sports College
Football game (the “Game”).

As we’ve indicated to BrandR previously, EA is not involved in BrandR’s dispute with OneTeam
Partners and has no interest in getting drawn into any such dispute. EA, however, will comply with
any legal obligations it may have with respect to such proceedings.

As publicized on May 17, EA plans to provide eligible college football athletes the opportunity to opt-
in individually and license their likeness rights directly to EA for inclusion in the Game. The aim is to
allow individual athletes an inclusive and equitable opportunity to decide whether or not they would
like their name and likeness to be included in the Game and to license those (unencumbered) rights
directly from eligible student athletes, independently and unrelated to any potential licensing by EA
of other intellectual property rights (e.g., division, conference, school, group, etc.). To be clear, this
has nothing to do with the group rights with student athletes that BrandR claims to have.
Additionally, media contacted us about statements BrandR has made to schools regarding the Game.
We ask that you advise your client to refrain from making any false statements about EA or the
Game, including suggesting that EA is currently working with BrandR or has any plans to engage
BrandR to negotiate on its behalf with schools or student athletes.

Nothing in this response is intended or be construed to constitute an express or implied waiver of
any rights or remedies that EA may have in connection with this matter, and all rights are reserved.
Regards,

Betsy Contro
Senior Counsel, Litigation
Electronic Arts Inc.
Email: bcontro@ea.com




NOTICE TO RECIPIENT: THIS E-MAIL IS MEANT SOLELY FOR THE INTENDED RECIPIENT OF THE TRANSMISSION, AND MAY BE A
COMMUNICATION PRIVILEGED BY LAW. IF YOU RECEIVED THIS E-MAIL IN ERROR, ANY REVIEW, USE, DISSEMINATION, DISTRIBUTION, OR
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DELETE THIS MESSAGE FROM YOUR SYSTEM.
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                  EXHIBIT 7
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                                                                                                               Charlotte, NC 28202-4213
                                                                                                               +1.704.444.2000 tel
                                                                                                               katten.com..


                                                                                                               LINDSEY L. SMITH
                                                                                                               lindsey.smith@katten.com
                                                                                                               +1.704.344.3178 direct


June 1, 2023

Via Certified Mail and Email
Ms. Betsy Contro
Senior Counsel
Electronic Arts Inc.
209 Redwood Shores Parkway
Redwood City, CA 94065
bcontro@ea.com

Re:      EA Sports College Football Game (the Game) Agreement and Negotiations with
         OneTeam Partners

Dear Ms. Contro:

We appreciate your response to our May 18, 2023 letter. Unfortunately, your comments make
clear that either EA does not understand TBGs exclusive group licensing rights, or EA plans to
intentionally violate those rights.

You claim in your May 31, 2023 email that the Game has nothing do with TBGs exclusive
group licensing agreements between it and the dozens of schools and thousands of student-athletes
TBG represents. You seem to suggest that because EA is contracting separately with the individual
student-athletes and their schools, that the Game does not affect group rights. To be clear, if EA
plans to use the names, images, and likenesses of student-athletes in connection with the students
school name, branding, logos, or other intellectual property, and it involves more than three
individual athletes, then the Game necessarily implicates group rights. EA cannot circumvent
TBGs exclusive agreements by entering into what it considers individual or independent
deals with the student-athletes and schools. We suspect you may understand this concept given
your current agreements with the NFLPA and NBPA.

Under TBGs agreements, Group Licensing Programs are defined as those licensing or
sponsorship programs in which a collegiate licensee or collegiate sponsor uses the Athlete
Attributes1 of three (3) or more current Athletes from any one specific sport or six (6) or more
Athletes from multiple sports in combination with University trademarks. By definition, the
Game constitutes a Group Licensing Program, for which TBGs contractual agreements require
that EA recognize TBG as its clients exclusive agent. Thus, to the extent EA seeks to include

1
   Athlete Attributes include all or any combination of the designated athletes name, nickname, initials,
autograph/signature, facsimile, voice, caricature, photograph, portrait, picture, image, likeness, jersey number,
statistics, data, biographical information or any other identifiable feature.

                                                  KATTEN MUCHIN ROSENMAN LLP
                             CENTURY CITY      CHARLOTTE           CHICAGO         DALLAS        LOS ANGELES
                               NEW YORK       ORANGE COUNTY             SHANGHAI          WASHINGTON, DC
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June 1, 2023
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TBG-represented student-athletes and schools in its Game, EA must work with TBG to negotiate
the student-athlete terms.

We have heard from certain of TBGs partner schools that EA does in fact intend to use TBG-
sponsored student-athletes and schools in the Game, and that EA is informing TBGs partners that
this will not interfere with TBGs exclusivity rights. Based on the explanation in your email, this
statement is false. We also understand that EA is telling schools and universities that they must
opt in to the Game by June 30, 2023, or else they will be ineligible from participating. Given the
urgency EA has created with this supposed deadline, TBG is accelerating its review of next steps
and available remedies. TBG will not hesitate to take appropriate action against EA to protect its
contractual rights and the interests of the schools and athletes TBG represents.

Moreover, contrary to assertions made by EA and OTP, TBG has not made any public statements
regarding the Game. TBG has voiced concerns to its clients about student-athletes not having a
voice or representation regarding the financial compensation for joining the Game, which we
understand may be well below market value based on comparable video games and arrangements
with athletes from other leagues and sports. TBGs concerns are based on media reports and
statements made directly by EA to TBG.

I invite you to contact me should you wish to discuss a possible resolution between our clients. In
the meantime, TBG reserves all rights and continues to assess its next steps.

Sincerely,




Lindsey L. Smith


Cc:    Mr. Jake Schatz, jschatz@ea.com, via email
       Mr. Paul Cairns, pcairns@ea.com, via email
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                  EXHIBIT 8
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From:            Smith, Lindsey L.
To:              "Contro, Betsy"
Cc:              Schatz, Jake; Cairns, Paul; Farley, Richard L.
Subject:         RE: Correspondence from EA re the BrandR Group
Date:            Wednesday, June 7, 2023 6:45:14 PM
Attachments:     image001.png


Ms. Contro,
In response to your request, please see below for a list of the current NCAA schools with whom TBG has contracted to act
as the exclusive agent with respect to each school’s Group Licensing Program. I believe you are already in possession of
certain of TBG’s collaboration agreements, and that exclusivity language is representative of TBG’s agreements with all of
these schools. Given the nature of the EA Sports College Football Game, we think this list is sufficient to provide EA with a
general understanding of TBG’s representation. As we explained previously, we presume that the Game will require the
use of NIL from three or more football players from a given school, which necessarily implicates TBG’s Group Licensing
Rights for its partner schools. TBG has entered into Student-Athlete Group Licensing Authorization & Assignment
Agreements with almost all of the football players from these schools, authorizing TBG to act as the student-athletes’
exclusive agent with respect to their respective school’s Group Licensing Program.

We hope that this invites a discussion regarding TBG’s representation and the participation of its represented schools and
student-athletes in the Game. We reserve all rights and look forward to your response.



                                               Current TBG-Exclusive Schools
  Appalachian State            Kansas State                        North Texas                      Towson
  Arizona State                Liberty                             Northwestern                     Troy
  Arkansas                     Louisiana Tech                      Ohio State                       UConn
  Auburn                       Louisiana- Lafayette                Ohio University                  UNC
  Baylor                       Louisville*                         Oklahoma State                   UT Arlington
  Boston College               Marshall                            Old Dominion                     Utah
  BYU                          Maryland                            Ole Miss                         UTEP
  Campbell                     Miami*                              Oral Roberts                     UTPB
  Cincinnati                   Michigan                            Oregon State                     UTSA
  Colorado                     Michigan State                      Pittsburgh                       Villanova
  Colorado State               Middle Tennessee State              Purdue                           Virginia
  Dayton                       Mississippi State                   Rice                             Wake Forest
  Florida                      Missouri                            Rutgers                          West Virginia
  Georgia Tech                 Murray State                        SMU                              Wyoming
  Gonzaga                      NC Central                          Syracuse
  Hawaii                       NC State                            TCU*
  Houston                      Nebraska                            Texas
 *Schools for whom TBG’s exclusivity rights are limited to the football program.

Thank you,

Lindsey L. Smith
Partner

Katten
Katten Muchin Rosenman LLP
550 S. Tryon Street, Suite 2900 | Charlotte, NC 28202-4213
direct +1.704.344.3178
lindsey.smith@katten.com | katten.com


From: Contro, Betsy <bcontro@ea.com>
Sent: Monday, June 5, 2023 7:23 PM
To: Smith, Lindsey L. <lindsey.smith@katten.com>
Cc: Schatz, Jake <JSchatz@ea.com>; Cairns, Paul <pcairns@ea.com>; Farley, Richard L. <richard.farley@katten.com>
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Subject: RE: Correspondence from EA re the BrandR Group

EXTERNAL EMAIL – EXERCISE CAUTION
Dear Ms. Smith,

Your June 1 letter says that your client The BrandR Group (“TBG”) is the “exclusive agent” for its clients and that “EA must
work with TBG to negotiate the student-athlete terms.” Please identify the student-athletes that TBG claims to represent
as their exclusive agent for these purposes, and the scope of such exclusivity.

Regards,
Betsy Contro


From: Smith, Lindsey L. <lindsey.smith@katten.com>
Sent: Thursday, June 1, 2023 2:55 PM
To: Contro, Betsy <bcontro@ea.com>
Cc: Schatz, Jake <jschatz@ea.com>; Cairns, Paul <pcairns@ea.com>; Farley, Richard L. <richard.farley@katten.com>
Subject: RE: Correspondence from EA re the BrandR Group

Ms. Contro,
Please see the attached correspondence regarding this matter.

Thank you,

Lindsey L. Smith
Partner

Katten
Katten Muchin Rosenman LLP
550 S. Tryon Street, Suite 2900 | Charlotte, NC 28202-4213
direct +1.704.344.3178
lindsey.smith@katten.com | katten.com


From: Contro, Betsy <bcontro@ea.com>
Sent: Tuesday, May 30, 2023 6:23 PM
To: Smith, Lindsey L. <lindsey.smith@katten.com>
Subject: Correspondence from EA re the BrandR Group

EXTERNAL EMAIL – EXERCISE CAUTION
Dear Ms. Smith,

I am writing on behalf of Electronic Arts Inc. (“EA”). We received your letter to EA dated May 18, 2023, on behalf of your
client, The BrandR Group (“BrandR”), regarding the EA Sports College Football game (the “Game”).

As we’ve indicated to BrandR previously, EA is not involved in BrandR’s dispute with OneTeam Partners and has no interest
in getting drawn into any such dispute. EA, however, will comply with any legal obligations it may have with respect to such
proceedings.

As publicized on May 17, EA plans to provide eligible college football athletes the opportunity to opt-in individually and
license their likeness rights directly to EA for inclusion in the Game. The aim is to allow individual athletes an inclusive and
equitable opportunity to decide whether or not they would like their name and likeness to be included in the Game and to
license those (unencumbered) rights directly from eligible student athletes, independently and unrelated to any potential
licensing by EA of other intellectual property rights (e.g., division, conference, school, group, etc.). To be clear, this has
nothing to do with the group rights with student athletes that BrandR claims to have.

Additionally, media contacted us about statements BrandR has made to schools regarding the Game. We ask that you
advise your client to refrain from making any false statements about EA or the Game, including suggesting that EA is
currently working with BrandR or has any plans to engage BrandR to negotiate on its behalf with schools or student
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athletes.

Nothing in this response is intended or be construed to constitute an express or implied waiver of any rights or remedies
that EA may have in connection with this matter, and all rights are reserved.

Regards,

Betsy Contro
Senior Counsel, Litigation
Electronic Arts Inc.
Email: bcontro@ea.com




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